                          Case 19-12502-LSS             Doc 17      Filed 11/21/19         Page 1 of 58



                                IN THE UNITED STATES BANKRUPTCY COURT
                                     FOR THE DISTRICT OF DELAWARE


         In re:                                                       Chapter 11

         BUMBLE BEE PARENT, INC., et al.,1                            Case No. 19-12502 (
                                                                                         )
                                            Debtors.                  (Joint Administration Requested)


                              DECLARATION OF KENT MCNEIL IN SUPPORT
                           OF CHAPTER 11 PETITIONS AND FIRST-DAY MOTIONS

                          I, Kent McNeil, hereby declare under penalty of perjury that the following is true

         and correct:

                          1.       I am the Chief Financial Officer (“CFO”) of Bumble Bee Foods, LLC

         (“Bumble Bee Foods” and, collectively with its affiliated debtors and debtors in possession, the

         “Debtors”) and hold various officer positions at each of the other Debtors. I have served in this

         capacity for fourteen (14) years. Prior to joining the Debtors, I held various domestic and

         international financial and business development positions at The Clorox Company, a global

         manufacturer and marketer of consumer and professional products, and I served as the chief

         financial officer of Savers Inc., a privately held thrift retailer.

                          2.       In my capacity as CFO, I am familiar with the Debtors’ operations,

         day-to-day business affairs, and books and records. I submit this declaration (this “Declaration”)

         to assist the Court and parties-in-interest in gaining an understanding of the circumstances that

         led to the commencement of these chapter 11 cases (collectively, the “Chapter 11 Cases”) and in

         support of the Debtors’ petitions and motions requesting various types of “first day” relief


         1
           The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
         number, are: Bumble Bee Parent, Inc. (5118); Bumble Bee Holdings, Inc. (1051); Bumble Bee Foods, LLC (0146);
         Anova Food, LLC (2140); and Bumble Bee Capital Corp. (7816). The headquarters for the above-captioned
         Debtors is 280 Tenth Avenue, San Diego, CA 92101.
01:25621777.4
                        Case 19-12502-LSS         Doc 17       Filed 11/21/19    Page 2 of 58



         (collectively, the “First Day Motions”).        I am authorized by the Debtors to submit this

         Declaration.

                        3.      Except as otherwise indicated herein, the facts set forth in this Declaration

         are based upon my personal knowledge, my review of relevant documents, my discussions with

         members of the Debtors’ senior management, and information provided to me by the Debtors’

         professional advisors, including: (i) Paul, Weiss, Rifkind, Wharton & Garrison LLP (“Paul,

         Weiss”) and Young Conaway Stargatt & Taylor, LLP, as restructuring co-counsel to the Debtors;

         (ii) AlixPartners, LLP (“AlixPartners”), as financial advisor to the Debtors; and (iii) Houlihan

         Lokey Capital, Inc. (“Houlihan Lokey”), as investment banker to the Debtors. If I were called

         upon to testify, I would testify competently to the facts set forth herein.

                        4.      On the date hereof (the “Petition Date”), each of the Debtors filed a

         voluntary petition with the Court for relief under chapter 11 of title 11 of the United States Code,

         11 U.S.C. §§ 101-1532 (the “Bankruptcy Code”).             The Debtors continue to operate their

         businesses and manage their properties as debtors in possession pursuant to sections 1107 and

         1108 of the Bankruptcy Code. The Debtors have filed a motion seeking joint administration of

         the Chapter 11 Cases pursuant to Rule 1015(b) of the Federal Rules of Bankruptcy Procedure.

         No trustee or examiner has been appointed in the Chapter 11 Cases. As of the date hereof, no

         creditors’ committee has been appointed.

                        5.      Part I of this Declaration provides an overview of the Debtors’ businesses

         and capital structure.     Part II provides a discussion of the events that compelled the

         commencement of the Chapter 11 Cases and the Debtors’ prepetition restructuring efforts.

         Part III affirms and incorporates the facts that support the relief requested in the First Day

         Motions.


01:25621777.4

                                                           2
                         Case 19-12502-LSS            Doc 17       Filed 11/21/19      Page 3 of 58



                                                     INTRODUCTION

                          6.      The Debtors are headquartered in San Diego, California and conduct

         operations in various other domestic and international locations. The Debtors, together with

         their non-Debtor affiliates based in Canada,2 comprise one of North America’s largest branded

         shelf-stable seafood providers.          The Debtors, together with their non-Debtor affiliates

         (collectively, the “Company”), offer a full line of canned and pouched tuna, salmon, sardines,

         and specialty seafood products marketed in the United States under leading brands including

         Bumble Bee, Brunswick, Sweet Sue, Snow’s, Beach Cliff, and Wild Selections and marketed in

         Canada primarily under the Clover Leaf brand. Due to the quality, nutritional value, and

         affordability of the Company’s products, this diverse product line-up is sold by virtually every

         major United States and Canadian food retailer and in all major food channels, including

         supermarkets, mass merchandisers, drug stores, warehouse clubs, and dollar stores. Over the last

         century, the Debtors, their affiliates, and their predecessor companies have been leaders in the

         shelf-stable seafood industry, and their brands enjoy nearly 90% consumer awareness levels in

         the United States and Canada.

                          7.      Despite this long history of success, the Debtors have recently experienced

         financial distress due to a number of factors. First, certain legal matters have adversely impacted

         the Debtors. In 2017, the United States Department of Justice (the “DOJ”) brought criminal

         charges against Bumble Bee Foods, alleging price-fixing in violation of the Sherman Antitrust

         Act, which resulted in a plea agreement (as amended, the “DOJ Plea Agreement”), requiring the


         2
           Substantially contemporaneously with the Petition Date, the Debtors’ Canadian non-Debtor affiliates— Connors
         Bros. Holdings Company, Clover Leaf Holdings Company, Connors Bros. Clover Leaf Seafoods Company
         (“Connors Bros. Clover Leaf”), Connor Bros. Seafoods Company, 6162410 Canada Limited, and K.C.R. Fisheries
         Ltd. (collectively, the “CCAA Debtors”)— have initiated or will initiate proceedings pursuant to the Companies’
         Creditors Arrangement Act in the Ontario Superior Court of Justice (Commercial List).

01:25621777.4

                                                               3
                        Case 19-12502-LSS        Doc 17       Filed 11/21/19   Page 4 of 58



         payment of a $25 million criminal fine over five years (the “DOJ Fine”), as more fully described

         below. Civil suits from direct and indirect purchasers of the Debtors’ products (the “Civil

         Litigation”) were subsequently commenced claiming damages arising out of this alleged

         price-fixing. The DOJ Fine, the Civil Litigation, and related proceedings have resulted in the

         Debtors spending tens of millions of dollars in defense costs and have negatively impacted their

         businesses.

                        8.      Beleaguered by the overhang and expense of the Civil Litigation and the

         DOJ Fine, the Debtors found themselves facing an imminent event of default under their Term

         Loan Agreement (as defined below) in the spring of 2019 as a consequence of a non-Debtor

         parent company’s breach of the maximum total net leverage ratio permitted under the Term Loan

         Agreement for the fiscal quarter ended December 31, 2018. The occurrence of that event of

         default would also have prevented the Debtors from delivering an unqualified audit opinion,

         which could have resulted in a second default. The Debtors’ Term Loan Lenders (as defined

         below) agreed to a series of short-term limited waivers of this event of default through the

         Petition Date. In light of these considerable challenges, the Debtors began to consider and

         pursue strategic alternatives.

                        9.      On July 10, 2019, the Debtors entered into that certain Restructuring

         Support Agreement (as amended, the “RSA”) with their major stakeholders. The RSA

         contemplated a restructuring of the Debtors through one of three paths. The first path was

         predicated on an out-of-court settlement of all or substantially all of the Civil Litigation and an

         infusion of junior capital that would be used to fund the Civil Litigation settlements, thereby

         substantially reducing the Debtors’ total outstanding financial obligations. An alternative path

         involved the pursuit of an in-court transaction on terms set forth in a term sheet to the RSA


01:25621777.4

                                                          4
                        Case 19-12502-LSS         Doc 17       Filed 11/21/19      Page 5 of 58



         through a prearranged chapter 11 plan of reorganization. But despite the Debtors’ concerted

         efforts, these paths proved unattainable, as settlement negotiations with certain civil-litigant

         contingents stalled, actionable junior fundraising proposals failed to materialize, and the

         Debtors’ Term Loan Lenders were no longer willing to permit the indefinite use of their cash

         collateral to fund an open-ended effort to settle the Civil Litigation.

                        10.     Thus, in late August 2019, the Debtors began to pursue a sale of the

         Company’s U.S. and Canadian businesses as going concerns—the third path contemplated by the

         RSA. On September 4, 2019, the boards of Clover Leaf Holdings Company, Bumble Bee

         Parent, Inc., and Bumble Bee Foods formed Special Restructuring Committees and on

         September 20, 2019, the board of Connors Bros. Clover Leaf formed a Special Restructuring

         Committee (collectively, the “SRC”).        Two independent directors, Scott Vogel and Steven

         Panagos, compose the SRC, which was vested with sole authority over the restructuring

         activities of those companies. And while the SRC continued to consider settlements with civil

         litigants and related strategic alternatives, the SRC focused the Debtors’ efforts on conducting a

         thorough marketing process for a going-concern sale.

                        11.     After a robust marketing process, on November 21, 2019, the Debtors and

         the CCAA Debtors entered into a stalking horse asset purchase agreement (the “Stalking Horse

         APA”) with certain affiliates of FCF Co., Ltd. (“FCF”) for the sale of substantially all of the

         Company’s assets at a total implied enterprise value of up to $930.6 million, comprised of $275

         million of cash, assumption of the remaining $17 million of the DOJ Fine, and the roll-over of up

         to $638.6 million in outstanding term loan indebtedness. The Stalking Horse APA preserves the

         Company’s businesses as going concerns, contemplates the employment of nearly all of the




01:25621777.4

                                                           5
                         Case 19-12502-LSS     Doc 17       Filed 11/21/19   Page 6 of 58



         Company’s employees, and maintains a business partner to scores of vendors and customers who

         have done business with the Company for decades.

                                                     Part I

                                      THE COMPANY’S BUSINESSES

         A.     The Company’s History

                         12.   Beginning in the 1860s, salmon fishers and canners flocked to Astoria,

         Oregon to capitalize on the abundant salmon supply in the Columbia River. Over the following

         decades, dozens of fishing and canning businesses were established in Astoria. In this bustling

         fishing town in 1899, a small group of dedicated fishermen formed the Columbia River Packers

         Association (the “CRPA”), the predecessor to Bumble Bee Foods, and set out to fish and process

         salmon.

                         13.   In 1910, the CRPA discovered a seasonal abundance of albacore tuna off

         the Oregon coast and the “Bumble Bee” tuna brand was born. Over the following decades, the

         CRPA expanded its cannery in Astoria to capitalize on albacore tuna, which became its top

         product, and grew into one of the most respected names in the canned seafood industry. At the

         same time, the Bumble Bee brand became an iconic market leader.

                         14.   In 1960, Castle & Cooke, a prominent Hawaii-based seafood company,

         acquired a majority ownership interest in the CRPA. The CRPA became a wholly-owned

         subsidiary of Castle & Cooke and was renamed Bumble Bee Seafoods Inc. (“BBS”). BBS

         continued to expand its operations over the next two decades and, in the late 1970s, acquired a

         tuna cannery in Puerto Rico, a fish base operation in Ecuador, and the Harbor Industry cannery

         in San Diego.




01:25621777.4

                                                        6
                       Case 19-12502-LSS         Doc 17        Filed 11/21/19   Page 7 of 58



                        15.     Beginning in 1984, BBS underwent a series of ownership changes. These

         changes resulted in BBS becoming a privately-held company and moving up from the third to

         the second most popular tuna brand in the United States.          By 1997, BBS was owned by

         International Home Foods, Inc. (“IHF”). Shortly thereafter, IHF acquired Orleans Seafood, Inc.,

         a company that produced specialty seafood products including shrimp, oysters, smoked scallops,

         anchovies, and more, thereby substantially expanding BBS’s product line. IHF also acquired BC

         Packers, a Canadian company that was the leading brand of salmon and tuna in Canada under the

         “Clover Leaf” label.

                        16.     In 2000, ConAgra Foods, Inc. (“ConAgra”) purchased BBS from IHF. In

         2003, ConAgra sold the assets of BBS to a new Bumble Bee entity, Bumble Bee Holdings, L.P.,

         established by Centre Partners Management LLC. Bumble Bee Seafoods, LLC (“Bumble Bee

         Seafoods”) was formed to acquire the assets of BBS.

                        17.     In 2004, Bumble Bee Seafoods was rolled up into a Canadian trust,

         Connors Bros. Income Fund (“CBIF”), which owned the largest producer of canned sardines in

         the world, Connors Bros. Clover Leaf. These combined companies became the largest branded

         seafood company in North America. The current equity ownership of the Debtors (and their

         non-Debtor Canadian affiliates) was the result of a 2010 acquisition by a fund managed by Lion

         Capital LLP (“Lion LLP”).

                        18.     For over a century, the Company has experienced unprecedented success

         in the shelf-stable seafood industry. Its products encapsulate a rare combination of qualities that

         make them desirable to a broad customer base – they are affordable, convenient, low-calorie,

         protein-based, and rich in Omega-3 fatty acids.




01:25621777.4

                                                           7
                       Case 19-12502-LSS          Doc 17       Filed 11/21/19   Page 8 of 58



         B.     The Company’s Organizational Structure

                        19.       A corporate organizational chart for the Company, including the Debtors,

         is attached hereto as Exhibit A.        Non-Debtor Clover Leaf Seafood S.à.r.l. (“CLSS”), a

         Luxembourg société à responsabilité limitée, is the direct or indirect parent of each of the

         Debtors, and is the 100% owner of non-Debtor Connors Bros. Clover Leaf, which is a CCAA

         Debtor.   CLSS is wholly owned by non-Debtor Bumble Bee Foods S.à.r.l. (“BBFS”), a

         Luxembourg société à responsabilité limitée.          Bumble Bee Foods and Anova Food, LLC

         (“Anova Food”) operate the Company’s shelf-stable seafood line and fresh frozen seafood line,

         respectively, in the United States.      Non-Debtor Connors Bros. Clover Leaf operates the

         Company’s shelf-stable seafood line in Canada and internationally with assistance from other

         non-Debtor affiliates.

                        20.       The Debtors comprise the Company’s United States operations. Each

         Debtor’s role and corporate formation background is briefly summarized below:

                              a) Bumble Bee Parent, Inc. Bumble Bee Parent, Inc. (“Bumble Bee
                                 Parent”) was formed as a Delaware corporation on November 22, 2010
                                 in connection with the acquisition of the Company by a fund managed
                                 by Lion LLP. It is the direct or indirect parent of the other Debtors and
                                 is wholly owned by CLSS. It is a non-operating holding company that
                                 owns all of the shares in Bumble Bee Holdings, Inc. (“Bumble Bee
                                 Holdings”).

                              b) Bumble Bee Holdings, Inc. Bumble Bee Holdings was originally
                                 formed as RPK Acquisition Company, Inc. (“RPK”) on March 1, 1991,
                                 and its current name was adopted on October 14, 2008. Bumble Bee
                                 Holdings is a Georgia corporation that is wholly owned by Bumble Bee
                                 Parent. It is a non-operating holding company that owns all of the
                                 membership interests in Bumble Bee Foods.

                              c) Bumble Bee Foods, LLC. As noted above, Bumble Bee Foods is the
                                 ultimate successor to the original CRPA, and it is the Company’s most
                                 significant operating subsidiary in the United States. Bumble Bee
                                 Seafoods, LLC was formed on May 12, 2003 to acquire the assets of its
                                 predecessor, Bumble Bee Seafoods, Inc. On June 1, 2005, the name of
                                 Bumble Bee Seafoods, LLC was changed to Bumble Bee Foods, LLC.
01:25621777.4

                                                           8
                      Case 19-12502-LSS        Doc 17       Filed 11/21/19   Page 9 of 58



                            d) Anova Food, LLC. Anova Food was formed as a Virginia limited
                               liability company on May 26, 2010. It is wholly owned by Bumble Bee
                               Foods. Anova Food is also a significant operating subsidiary and the
                               Company’s frozen raw seafood business is run through this entity.

                            e) Bumble Bee Capital Corp. Bumble Bee Capital Corp. was formed as a
                               Delaware corporation on November 30, 2009. It is wholly owned by
                               Bumble Bee Foods and is a dormant entity.

         C.     The Debtors’ Current Business Operations

                Products and Customers

                      21.    The Debtors operate the following ocean-inspired collection of brands,

         among others, many of which are household names in the North American seafood market:

                            a) Bumble Bee. Bumble Bee is a leading brand in the United States
                               shelf-stable seafood category. It is the #1 provider of albacore tuna in
                               the United States and the #2 overall tuna brand. It also holds leading
                               positions in the United States in specialty seafood, sardines, and canned
                               salmon.

                            b) Brunswick. Brunswick is the #1 brand of sardines in Canada and the
                               Caribbean. It is the #2 brand of value-priced sardines in the United
                               States.

                            c) Beach Cliff. Beach Cliff is the #1 brand of value-priced sardines in the
                               United States.

                            d) Snow’s. Snow’s is the #1 brand of chopped and minced clams and clam
                               juice in the United States.

                            e) Anova. Anova is the leading supplier of raw frozen tuna to the
                               foodservice channel in the United States.

                            f) Natural Blue. Natural Blue is a frozen Ahi tuna product line distributed
                               by Anova Food that is notable for being Fair Trade Certified™.

                            g) Kumabachi. Kumabachi is a bigeye tuna product that is untreated and
                               frozen at an ultra low temperature on the vessel where it is caught within
                               one hour.

                            h) Yoi Umi. Yoi Umi is a sashimi-grade yellowfin tuna product that is
                               preserved with Anova Food’s patented ClearSmoke technology that
                               results in a consistent presentation, texture, and flavor.


01:25621777.4

                                                        9
                      Case 19-12502-LSS         Doc 17    Filed 11/21/19     Page 10 of 58



         As discussed below, the CCAA Debtors distribute products in Canada under, among others, the

         “Clover Leaf” brand name.

                        22.    Collectively, these brands advance the Company’s philosophy of

         providing customers with nutritious foods that contain all the health benefits the ocean has to

         offer. The Company’s products are well-positioned to address a number of important consumer

         preferences and food trends, including shifts toward protein-rich, low-fat/low-calorie, and high

         Omega-3 fatty acid diets and trends towards eating multiple small or “snack-sized” portions per

         day rather than the traditional three-square meals per day, and an overall increase in “snacking.”

         The Company is also a leader in global sustainability within its industry, with Bumble Bee Foods

         and Connors Bros. Clover Leaf among the founders of the International Seafood Sustainability

         Foundation. The Company focuses on environmentally responsible practices in both sourcing

         and processing its raw materials. Among those initiatives is the introduction of a traceability

         website (www.BumbleBee.com/TraceMyCatch) that allows consumers to enter a code from a

         can of fish and receive information on species, ocean of catch, fishing method, fishing vessel(s),

         and production location.

                        23.    The Debtors, through Bumble Bee Foods, have been a long-standing

         market leader in the United States for shelf-stable seafood. They enjoy the #1 or #2 share

         position in virtually every segment of the U.S. shelf-stable seafood category.         They hold

         approximately 41% of the U.S. share of sales of canned albacore tuna, approximately 13% of the

         U.S. share of sales of canned “light meat” tuna, approximately 12% of the share of sales in tuna

         pouches, approximately 71% of the U.S. share of sales in ready-to-eat tuna meals, approximately

         40% of the U.S. share of sales in sardines, and approximately 16% of the U.S. share of sales in

         salmon. Due to their reputation as an indispensable, trusted choice for shelf-stable seafood, the


01:25621777.4

                                                         10
                      Case 19-12502-LSS         Doc 17     Filed 11/21/19     Page 11 of 58



         Debtors’ products have become a staple with top customers in the United States, including

         Walmart, C&S/Ahold, Costco Wholesale, Sam’s Club, Kroger, Publix, BJ’s Wholesale Club,

         Aldi, ShopRite, Supervalu, Walgreens, and CVS.

                        24.    Bumble Bee Foods acquired Anova Food in 2013 to accelerate its entry

         into the fresh/frozen seafood category.       Anova Food is the largest supplier of quality

         sashimi-grade tuna in the United States and distributes products under the trade names Anova,

         Natural Blue, Kumabachi, and Yoi Umi.          It is the leader in the global sourcing of wild,

         sustainably harvested tuna and utilizes key processing facilities in Indonesia, Thailand, and

         Vietnam. Specializing in yellowfin tuna, Anova Food’s high-quality products have earned it

         relationships with customers such as US Foods, P.F. Chang’s, Outback Steakhouse, Ruth’s Chris

         Steak House, and others. Since its acquisition, Anova Food’s sales revenue has more than

         doubled due to new distributions and new products.

                        25.    To complement Anova Food’s frozen foods business, Bumble Bee Foods

         acquired a 44% equity ownership stake in RiceWrap Foods Corporation (“RiceWrap”), a start-up

         frozen rice producer that has developed a process for freezing rice for sushi, such that it retains

         the properties of freshly cooked rice once thawed. RiceWrap’s products solve a major food

         service challenge of preparing sushi on a large scale with unskilled labor in environments where

         the demand for sushi is high, like college campuses, delicatessens, mid-range sushi restaurants,

         and grocery deli counters.

                The Debtors’ Production Process

                        26.    The Debtors control the sourcing and production of approximately 50% of

         their U.S. volume requirements, either through direct ownership interests or exclusive supply

         relationships. Much of the Debtors’ tuna production is subject to a two-stage process. First, the


01:25621777.4

                                                         11
                         Case 19-12502-LSS             Doc 17      Filed 11/21/19        Page 12 of 58



         Debtors source and process raw tuna into frozen loins at third-party facilities strategically located

         in the Western Tropical Pacific and the Indian Oceans near primary tuna fisheries. The frozen

         loins are then shipped to the Debtors’ approximately 300-employee facility based in Santa Fe

         Springs, California, where the loins are processed into approximately 360 million cans of tuna

         each year. The Debtors also operate an approximately seventy (70)-employee facility in Cape

         May, New Jersey, where the Debtors process and can approximately six (6) million pounds of

         quahog clams each year. To satisfy their remaining supply requirements, the Debtors use

         strategic co-packing arrangements in the United States and about fifteen (15) other countries,

         primarily concentrated in Southeast Asia. The Debtors implement species-specific purchasing

         strategies to secure consistent, high-quality supply at the lowest cost.

                          27.    FCF, a Taiwanese company, supplies the Debtors with nearly all of their

         albacore tuna and a substantial majority of their “light meat” tuna, including skipjack, yellowfin,

         and bigeye, pursuant to a prepetition supply agreement (as amended, the “FCF Supply

         Contract”). One of the world’s largest seafood suppliers, FCF acts as a broker for fishing vessels

         and contracts directly with over 500 independent tuna fishing vessels located in oceans around

         the world. As a practical matter, FCF is the only vendor from which the Debtors are able to

         obtain in the near term the large quantity of tuna necessary to supply their customers with shelf-

         stable seafood products in the ordinary course of business.3

                          28.      The Debtors obtain other “light meat” tuna, sardines, salmon, clams, and

         other specialty seafood (including crab, oysters, shrimp, mackerel, and mussels, among others),

         from various other vendors located in Thailand, Vietnam, China, Papua New Guinea, the



         3
          The Debtors’ relationship with FCF is further discussed below in connection with the Debtors’ sale process and the
         bid that FCF has submitted to acquire substantially all of the Company’s assets.

01:25621777.4

                                                                 12
                      Case 19-12502-LSS        Doc 17     Filed 11/21/19     Page 13 of 58



         Marshall Islands, Indonesia, Poland, Latvia, Morocco, Canada’s Bay of Fundy, Alaska, and

         Korea, among other places.

                 The Company’s Non-Debtor Canada/International Business.

                       29.     The CCAA Debtors are the clear market leader in Canada and hold

         leading shares in virtually every segment of the Canadian shelf-stable seafood category. Clover

         Leaf is the top-ranked shelf stable tuna brand in Canada and #1 in almost every other major

         shelf-stable seafood segment in Canada. The core product offerings in Canada include tuna,

         salmon, sardines, flavored tuna, surimi, snacks, and other specialty seafood. In addition, the

         Canadian affiliates distribute into Caribbean and certain Latin American markets, and they make

         an estimated 60% to 85% of the sale of tuna and 50% to 95% of the sale of sardines in Barbados,

         Jamaica, Trinidad and Tobago, and Guyana. The Company’s core products internationally are

         sardines, tuna, salmon, specialty seafood, and value-added seafood offerings.

                 The Company’s Financial Performance

                       30.     Over the past century, the Company has demonstrated resilient financial

         performance with a strong free cash flow conversion and a strategic focus on higher-margin

         products. Approximately 50% of the Company’s revenue is generated from tuna products and

         the remaining 50% is generated from other shelf-stable and frozen seafood products. In 2018,

         the Company sold over twenty (20) million equivalent cases of product, resulting in net sales

         exceeding $933 million and adjusted EBITDA of $112.3 million. The Debtors’ U.S.-based

         operations contributed $722.2 million of net sales and adjusted EBITDA of $86.3 million for

         2018.




01:25621777.4

                                                        13
                       Case 19-12502-LSS         Doc 17     Filed 11/21/19     Page 14 of 58



         D.     The Debtors’ Capital Structure

                        31.     As of December 31, 2018, the Company reported total assets of

         approximately $1 billion and total liabilities of approximately $1 billion. As of the Petition Date,

         the obligations outstanding under the Debtors’ pre-petition secured facilities are estimated at no

         less than the following amounts:

                                                                                                   $ Totals
                       ABL Facility                                                            $186,817,599
                             U.S. Revolver                         $151,452,405
                             Canadian Revolver                      $35,365,193
                       Term Loan Facility                                                      $649,233,814
                             U.S. Term Loan                        $505,902,964
                             Canadian Term Loan                    $143,330,850
                       TOTAL                                                                   $836,051,412

         A description of the Debtors’ prepetition credit facilities and other obligations follows.

                The ABL Facility.

                        32.     Bumble Bee Foods is a borrower under that certain amended and restated

         asset-based loan agreement, dated as of August 18, 2017 (as may have thereafter been amended,

         restated, supplemented or otherwise modified from time to time, the “ABL Credit Agreement”),

         among Bumble Bee Foods, as U.S. Borrower, Connors Bros. Clover Leaf, as the initial Canadian

         Borrower, the several financial institutions from time to time party thereto (the “ABL Lenders”),

         Wells Fargo Capital Finance, LLC, as administrative agent for the U.S. ABL Lenders (in such

         capacity, the “U.S. ABL Agent”), Wells Fargo Capital Finance Corporation Canada, as

         administrative agent for the Canadian ABL Lenders (in such capacity, the “Canadian ABL

         Agent,” and together with the U.S. ABL Agent and the ABL Lenders, the “ABL Secured

         Parties”), Bank of America, N.A., as co-lead arranger, and MUFG Union Bank, N.A. as

         syndication agent. The ABL Credit Agreement provides for an asset-based revolving credit

         facility with aggregate commitments of up to $200 million, subject to a borrowing base

01:25621777.4

                                                          14
                       Case 19-12502-LSS         Doc 17      Filed 11/21/19     Page 15 of 58



         limitation based on the Debtors’ eligible accounts receivable, reserves, and inventory (the “ABL

         Facility”), with Bumble Bee Foods, as U.S. Borrower, able to draw up to $160 million (the “U.S.

         Revolver”) and Connors Bros. Clover Leaf, as Canadian Borrower, able to draw up to $40

         million (the “Canadian Revolver”), of advances, in each case limited by, among other things, the

         remaining DOJ Fine and the portion of the borrowing base attributable to the respective borrower

         and its subsidiaries. As of the Petition Date, the amounts outstanding under the U.S. Revolver

         and Canadian Revolver are approximately $151,452,405, and $35,365,193, respectively.

                        33.     Loans under the ABL Facility bear interest at variable levels depending on

         the type of loan and the average excess availability under the ABL Facility and are subject to an

         unused line fee of 0.25% per annum applied to the unused amounts. Interest rates are indexed

         either to the applicable U.S. prime rate or LIBOR rate for the U.S. Revolver, or the Canadian

         prime rate or CDOR rate for the Canadian Revolver, plus an applicable margin of 0.50% to 2.0%

         depending on the type of loan and the average excess availability. Loans under the U.S.

         Revolver currently bear interest at the applicable LIBOR rate plus 2.00% or at the applicable

         Prime rate plus 1.00%, and the Debtors have remained current on interest owing under the U.S.

         Revolver.

                        34.     The entirety of the borrowings under the ABL Facility is secured on a

         first-priority basis by substantially all of the current assets of the Debtors, as well as those of

         certain of their non-Debtor affiliates, such as cash, cash equivalents, accounts receivable, and

         inventory (collectively, the “ABL Priority Collateral”) and is secured on a second-priority basis

         by security interests in substantially all of the other assets (subject to certain excluded assets) of

         the borrowers and guarantors under the ABL Credit Agreement (collectively, the “Term Loan

         Priority Collateral”). The ABL Facility is cross-collateralized and cross-guaranteed, such that


01:25621777.4

                                                          15
                      Case 19-12502-LSS        Doc 17     Filed 11/21/19    Page 16 of 58



         amounts borrowed by each of Bumble Bee Foods and Connors Bros. Clover Leaf, as borrowers,

         are guaranteed by and secured by the assets of BBFS and its direct and indirect subsidiaries

         (other than certain excluded subsidiaries), including Bumble Bee Foods and Connors Bros.

         Clover Leaf. The ABL Facility matures on August 18, 2022.

                       35.     Since March 2019, the Debtors and other loan parties under the ABL

         Facility have been under cash dominion with cash financing for their operations dependent on

         the availability of borrowings under the ABL Facility.

                The Term Loan Facility.

                       36.     Bumble Bee Foods and Connors Bros. Clover Leaf are borrowers under

         that certain term loan credit agreement, dated as of August 15, 2017 (as may have thereafter been

         amended, restated, supplemented or otherwise modified from time to time, the “Term Loan

         Agreement”), among Bumble Bee Foods, the lenders from time to time party thereto (the “Term

         Loan Lenders” and, together with the Prepetition ABL Lenders, the “Prepetition Secured

         Lenders”), and Brookfield Principal Credit, LLC, as administrative agent and collateral agent for

         the Term Loan Lenders (in such capacity, the “Term Loan Agent” and together with the Term

         Loan Lenders, the “Term Secured Parties”).       The Term Loan Agreement provides for the

         issuance of term loans in the aggregate initial principal amount of $650.0 million (the “Term

         Loan Facility”), with approximately $506.5 million of Term B-1 Loans issued to Bumble Bee

         Foods (the “U.S. Term Loan”) and approximately $143.5 million of Term B-2 Loans issued to

         Connors Bros. Clover Leaf (the “Canadian Term Loan” and, together with the U.S. Term Loan,

         the “Term Loans”). As of the Petition Date, the amount outstanding under the U.S. Term Loan

         and the Canadian Term Loan are approximately $505,902,964 and $143,330,850, respectively.




01:25621777.4

                                                        16
                       Case 19-12502-LSS         Doc 17     Filed 11/21/19     Page 17 of 58



                        37.     Interest under the Term Loan Agreement accrues per annum at the

         applicable prime rate plus 9.0%, with 7.5% paid in cash and 1.5% paid in kind. As a result of the

         potential events of default under the Term Loan Agreement which are subject to a series of

         waivers, as described above, additional Default Rate interest is accruing on outstanding

         obligations under the Term Loan Agreement at the per annum rate of 2.0%, for an effective rate

         of interest at the applicable prime rate plus 11.0%. The Term Loan Agreement also requires

         quarterly amortization payments, currently at the rate 0.25% of the outstanding principal amount,

         which is scheduled to step up to 0.625% beginning with the fiscal quarter ending December 31,

         2019. The Term Loan Agreement also provides that upon any acceleration of the Term Loans on

         or before April 26, 2020, the Term Loan Lenders are entitled to a 5% prepayment premium. As

         of the Petition Date, the prepayment premium in the amount $32,461,691.00 is due and payable.

                        38.     The Term Loan Facility is secured on a first-priority basis by substantially

         all of the assets of the Debtors, as well as those of certain of their non-Debtor affiliates, that do

         not constitute ABL Collateral, including the capital stock of each of the present and future

         subsidiaries of the loan parties and all of their owned real property, equipment and fixtures,

         investment property, and intellectual property, and all proceeds from such property and assets

         (the “Term Loan Priority Collateral”).      Obligations under the Term Loans are secured by

         second-priority security interests in the ABL Collateral. Like the ABL Facility, the Term Loan

         Facility is cross-collateralized and cross-guaranteed, such that amounts borrowed by each of

         Bumble Bee Foods and Connors Bros. Clover Leaf, as borrowers, are guaranteed by and secured

         by the assets of each of BBFS and its direct and indirect subsidiaries, including Bumble Bee

         Foods and Connors Bros. Clover Leaf, other than certain excluded subsidiaries. The Term Loan

         Facility matures on August 15, 2023.


01:25621777.4

                                                          17
                       Case 19-12502-LSS         Doc 17     Filed 11/21/19     Page 18 of 58



                The Intercreditor Agreement.

                        39.     The relative rights of the ABL Lenders and the Term Loan Lenders with

         respect to the ABL Priority Collateral and Term Loan Priority Collateral are governed by that

         certain amended and restated intercreditor agreement, dated as of August 15, 2017 (as may be

         amended, restated, or amended and restated from time to time, the “Intercreditor Agreement”),

         by and between the ABL Agent and the Term Loan Agent and acknowledged by the Debtors and

         their affiliates that are parties to the ABL Facility and Term Loan Facility.

                Intercompany Borrowings from Connors Bros. Clover Leaf

                        40.     Historically, Connors Bros. Clover Leaf has made funds available to

         Bumble Bee Foods through an intercompany revolver (the “Intercompany Facility”).               The

         Intercompany Facility is unsecured, has a maximum availability of $20 million, and bears

         interest at a rate of 8.11% per annum. As of the Petition Date, Bumble Bee Foods owes

         approximately $9 million under the Intercompany Facility.

                Trade Payables and Other Unsecured Claims

                        41.     The Debtors also estimate that they have approximately $77 million in

         trade payables outstanding. As discussed below, the majority of these amounts are owed to

         vendors based outside of the U.S. that are involved in the sourcing and processing of raw

         materials prior to delivering them to the Debtors’ U.S.-based facilities for finishing and delivery

         to market. As detailed below, the Debtors’ prepetition trade payables owing to FCF are

         approximately $51 million.




01:25621777.4

                                                          18
                        Case 19-12502-LSS       Doc 17    Filed 11/21/19     Page 19 of 58



                                                      Part II

                                        EVENTS LEADING TO CHAPTER 11

         A.        The Antitrust Litigation

                   DOJ Investigations

                         42.    For over one hundred years, Bumble Bee Foods has been a trailblazer in

         the sale of nutritious and affordable shelf-stable seafood and has earned an impeccable reputation

         for its integrity and transparency. A few years ago, however, it was brought to Bumble Bee

         Foods’ attention that certain former executives purportedly took actions that jeopardized this

         legacy.

                         43.    In 2015, attorneys at the DOJ reviewed information related to Bumble Bee

         Foods’ proposed merger with Thai Union Group P.C.L. (the parent entity of Chicken of the Sea)

         and, based on that review, alleged that anticompetitive conduct occurred among the producers of

         Bumble Bee, Star-Kist, and Chicken of the Sea branded canned tuna. On July 15, 2015, and

         October 1, 2015, Bumble Bee Foods received grand jury subpoenas relating to an investigation

         by the DOJ into potential antitrust violations based on alleged price-fixing in the packaged

         seafood industry. Immediately upon being notified of this investigation, Bumble Bee Foods

         fully cooperated with the DOJ.

                         44.    On May 5, 2017, Bumble Bee Foods entered into the DOJ Plea Agreement

         in which Bumble Bee Foods agreed to enter a guilty plea in connection with the DOJ’s ongoing

         criminal investigation, which DOJ Plea Agreement was amended on August 2, 2017. Thereafter,

         a one-count felony charge for violations of the Sherman Antitrust Act was filed on May 8, 2017

         in the United States District Court for the Northern District of California in San Francisco.

         Under the DOJ Plea Agreement, Bumble Bee Foods agreed to the payment of a $25 million


01:25621777.4

                                                         19
                       Case 19-12502-LSS           Doc 17     Filed 11/21/19      Page 20 of 58



         criminal fine, payable over a five-year period. As of the Petition Date, $17 million of this

         criminal fine is outstanding. In addition to entering into the DOJ Plea Agreement, Bumble Bee

         Foods independently implemented measures to ensure that nothing like the alleged

         anticompetitive behavior would happen again. Among other things, Bumble Bee Foods hired a

         chief compliance officer and reformed its guidelines and policies.

                         45.     Separately, in May 2018, the then-CEO of Bumble Bee Foods was

         criminally charged by the DOJ for his alleged role in the alleged price-fixing. He subsequently

         stepped down from his role as CEO, and his criminal trial commenced on November 4, 2019.

                 Multidistrict Civil Litigation

                         46.     Following the DOJ’s investigation, fifty (50) putative class action

         complaints were filed against Bumble Bee Foods and other defendants, including in some

         instances, Lion LLP and certain of its affiliates, alleging violations of Sections 1 and 3 of the

         Sherman Antitrust Act and various analogous state law causes of action. A motion was filed

         before the United States Judicial Panel on Multidistrict Litigation (“JPML”) on August 28, 2015

         seeking to transfer and centralize these cases in a single federal district court.

                         47.     On December 9, 2015, the JPML transferred the complaints outside of the

         Southern District of California that were pending at the time of the motion to the United States

         District Court for the Southern District of California (the “District Court”). On July 30, 2019,

         the District Court certified three (3) classes: (i) direct purchaser plaintiffs, i.e., retail sellers and

         distributors; (ii) commercial food preparer plaintiffs, i.e., indirect purchasers of food-service-size

         products; and (iii) indirect purchaser end-payer plaintiffs, i.e., individual consumers who bought

         tuna for personal consumption. Rather than proceed as part of the direct purchaser plaintiff

         class, a number of direct purchasers have pursued separate, non-class based claims against


01:25621777.4

                                                            20
                      Case 19-12502-LSS         Doc 17     Filed 11/21/19     Page 21 of 58



         Bumble Bee Foods and, in certain instances, Lion LLP and certain of its affiliates. Bumble Bee

         Foods, through its counsel, has engaged in settlement discussions with the plaintiffs in the Civil

         Litigation, which are discussed in more detail below.

         B.     Other Financial Pressures Facing the Debtors

                        48.    The antitrust litigation facing the Debtors has negatively impacted the

         Debtors’ cash flow and dragged on financial performance and overall EBITDA. The DOJ Plea

         Agreement resulted in the Debtors incurring a $25 million fine owed to the federal government,

         of which the Debtors have now paid $8 million, including $4 million in August 2019. And the

         Debtors’ legal defense costs resulting from the Civil Litigation have been substantial.

                        49.    The Company’s overall Adjusted EBITDA has declined by approximately

         20% from 2015 to 2018. This negative trend contributed to the Company’s inability to maintain

         the maximum total net leverage covenant required under the Term Loan Agreement, which

         would have resulted in a potential event of default under the Term Loan Agreement in March

         2019, when the Company delivered its 2018 audited financial statements. In light of this

         potential default, the Debtors began focusing on potential deleveraging transactions to address

         their covenant non-compliance.

                        50.    Finally, in the weeks leading up to the Petition Date, the Debtors’ liquidity

         further suffered as a result of a shortening of available payment terms among certain of their

         large foreign vendors, which coincided with news reports regarding the Debtors’ financial

         difficulties as well as the struggles of one of their largest competitors. The Debtors were able to

         address this contraction in payment terms through managing their payables and obtaining

         important concessions from FCF in August 2019, when FCF agreed temporarily to provide

         additional relief from the already favorable payments terms the Debtors enjoyed with FCF, but


01:25621777.4

                                                         21
                      Case 19-12502-LSS         Doc 17     Filed 11/21/19     Page 22 of 58



         the Debtors remain at risk of further contractions in payment terms and have limited borrowing

         availability under the U.S. Revolver to weather any further significant contractions.

         C.     Prepetition Restructuring Efforts

                        51.    Taking into consideration the Company’s outstanding debt under the ABL

         Facility and Term Loan Facility, the magnitude of the liability asserted against Debtor Bumble

         Bee Foods in the Civil Litigation, and the Company’s failure to maintain the financial

         maintenance covenant under the Term Loan Agreement, in the spring of 2019, the Company

         determined to explore its strategic alternatives. In December 2018, the Company retained

         Houlihan Lokey with the initial mandate of exploring a sale of the Company’s Canadian

         business, which was expanded in April 2019 to include a potential recapitalization of the

         Company. Also in April 2019, the Company retained AlixPartners to conduct a strategic review

         of the Debtors’ operations. In addition, the Debtors entered into negotiations with the ABL

         Lenders and the Term Loan Lenders which, among other things, resulted in agreements to waive

         certain defaults and events of default and to extend milestones to enter into a restructuring

         support agreement and deliver a term sheet for a restructuring transaction.

                        52.    These efforts culminated in the execution of the RSA on July 10, 2019 by

         and among (i) Bumble Bee Foods, BBFS, Bumble Bee Holdings, Connors Bros. Clover Leaf,

         (ii) Big Catch Cayman L.P., the Debtors’ indirect equity holders, (iii) Brookfield Principal Credit

         LLC, as Term Loan Agent, and (iv) each consenting lender party thereto (collectively, the “RSA

         Parties”). The RSA sets forth an agreement by the RSA Parties to support a restructuring to be

         implemented either through: (i) a settlement transaction consummated either (a) as an

         out-of-court transaction, provided that the Debtors enter into an acceptable junior financing

         agreement and settle all Civil Litigation claims on the terms and timeline set forth in the RSA; or


01:25621777.4

                                                         22
                      Case 19-12502-LSS          Doc 17      Filed 11/21/19    Page 23 of 58



         (b) in the sole discretion of the Consenting Term Loan Lenders (as defined in the RSA), in

         consultation with the Debtors, as an in-court transaction through a joint prearranged chapter 11

         plan of reorganization consistent with the terms set forth in the RSA, provided that the Debtors

         enter into an acceptable junior financing agreement and settle the Civil Litigation claims at a

         level satisfactory to the Consenting Term Loan Lenders; or (ii) if the Debtors fail to achieve the

         settlement threshold under the RSA and obtain acceptable junior financing, an in-court

         transaction implemented through a sale of substantially all of the Debtors’ assets under section

         363 of the Bankruptcy Code.

                        53.     The Debtors expended significant efforts to try to reach resolutions with

         the plaintiffs in the Civil Litigation (including counsel to the class representatives for the three

         (3) court-certified classes) from the spring of 2018 through early fall of 2019. These efforts

         included individual settlement conferences and negotiations with the plaintiffs through the

         duration of the spring and summer, an all-day settlement meeting in New York on September 6,

         2019, and continued negotiations with various plaintiffs and plaintiff contingents thereafter.

         These negotiations were predicated and conditioned on the Debtors’ ability to obtain the junior

         capital financing required by the RSA. While the Debtors had some early success in resolving

         certain aspects of the Civil Litigation, reaching settlements with approximately 35% (by volume

         of commerce) of their direct purchaser customers by the summer of 2019, the Debtors ultimately

         were not able to reach settlements with a number of plaintiffs reaching a threshold sufficiently

         high enough to proceed with restructuring the Debtors (and their non-Debtor affiliates) through

         an out-of-court transaction or a chapter 11 plan.

                        54.     In addition, with the assistance of Houlihan Lokey, the Company

         attempted to raise the junior capital required under the RSA.           The Debtors entered into


01:25621777.4

                                                          23
                       Case 19-12502-LSS         Doc 17    Filed 11/21/19    Page 24 of 58



         non-disclosure agreements with approximately fifty (50) parties and entered into advance

         negotiations with three (3) groups of investors to provide such funding.          Ultimately, the

         Company was unsuccessful in obtaining a firm commitment for financing.

                        55.     Despite their efforts, the Company could not achieve the dual goals of

         raising acceptable junior financing and settling the Civil Litigation. Without a global resolution

         of the Civil Litigation, the Debtors continued to face unsustainable litigation costs to defend

         against the various pending lawsuits, as well as the risk that substantial judgments may be

         rendered against the Debtors, which the Debtors do not have the resources to satisfy. In addition,

         the Debtors faced multiple unresolved events of default under the Term Loan Agreement, which

         could lead to the exercise of remedies by the Term Loan Agent, including the acceleration of the

         indebtedness thereunder.       Accordingly, in late August, the Company and Houlihan Lokey

         commenced the sale process described below to maximize the value of the Company for the

         benefit of its stakeholders.

         D.     Formation of the Special Restructuring Committee

                        56.     In connection with the entry into the RSA, two independent directors,

         Steven Panagos and Scott Vogel, were appointed to the boards of Debtors Bumble Bee Parent

         and Bumble Bee Foods and non-Debtors Clover Leaf Holdings Company (the parent of Connors

         Bros. Clover Leaf) and Connors Bros. Clover Leaf. Messrs. Panagos and Vogel have extensive

         experience in the restructuring industry, and both serve on the boards of a number of large

         companies, including those in financial distress. On September 4, 2019, the boards of Bumble

         Bee Parent, Bumble Bee Foods, and Clover Leaf Holdings Company formed Special

         Restructuring Committees and on September 20, 2019, the board of Connors Bros. Clover Leaf

         formed a Special Restructuring Committee. The SRC is vested with sole authority over the


01:25621777.4

                                                          24
                       Case 19-12502-LSS         Doc 17     Filed 11/21/19     Page 25 of 58



         restructuring activities of those companies. At the SRC’s direction, the Debtors engaged Paul,

         Weiss to serve as general restructuring counsel to the Debtors.

                        57.     Since its appointment, the SRC has directed the restructuring activities of

         the Debtors. This has included overseeing (i) the sales process conducted by Houlihan Lokey,

         (ii) negotiations with the Debtors’ secured lenders over the terms of amendments to their existing

         credit facilities and the RSA, (iii) the preparation for the commencement of the Chapter 11

         Cases, and (iv) the negotiation of debtor-in-possession financing.

         E.     The Debtors’ Pre-Petition Marketing Efforts and Entry Into the Stalking Horse
                Purchase Agreement

                        58.     As noted above, the Company initially retained Houlihan Lokey in

         December 2018. Houlihan Lokey’s initial mandate, along with Nomura Securities Co. Ltd.

         (“Nomura”), was to explore a sale of certain of the Company’s assets, including the “Clover

         Leaf” business in Canada (the “Canada Only Sales Process”). In connection with the Canada

         Only Sales Process, Houlihan Lokey and Nomura contacted nine (9) potentially interested

         parties, all of which were strategic buyers. Four (4) interested parties executed non-disclosure

         agreements and received a confidential information memorandum that provided a comprehensive

         overview of the Clover Leaf business and were provided access to a diligence data room and

         substantial background information on the Clover Leaf business to assist them in formulating

         bids for the Clover Leaf business. Three (3) interested parties submitted indications of interest in

         the first round of bidding, and one (1) interested party subsequently submitted a letter of intent in

         the second round of bidding.

                        59.     However, prior to the consummation of any transaction in the Canada

         Only Sales Process, the Company determined that potential lenders were unwilling to implement

         a global recapitalization of the Company’s business in the absence of a settlement of

01:25621777.4

                                                          25
                       Case 19-12502-LSS         Doc 17     Filed 11/21/19     Page 26 of 58



         substantially all of the Civil Litigation. As a result, the Company, with the assistance of its

         advisors, concluded that it was in the best interests of the Company to terminate the Canada Only

         Sales Process and explore additional options for restructuring or recapitalizing the entire

         business, including marketing the entire Company for sale, either to a single buyer of the

         Company as a whole or to multiple buyers acquiring the component parts of the Company.

                        60.     Beginning in late August 2019, Houlihan Lokey commenced a process to

         solicit interest in a sale of the Company’s U.S.-based and Canadian-based businesses, together or

         individually. As stated above, this followed a process run by Houlihan Lokey in the spring and

         summer to sell the Canadian-based business on a stand-alone basis, during which the Company

         obtained three indications of interest for the Canadian-based business.

                        61.     During this whole-Company sale process, Houlihan Lokey contacted 190

         parties, comprising 66 strategic buyers and 124 financial buyers. A number of these parties were

         already familiar with the Company and its business based on Houlihan Lokey’s prior efforts in

         the summer to raise junior capital financing and sell the Clover Leaf business. Approximately

         sixty-five (65) parties signed non-disclosure agreements and received a confidential information

         memorandum that provided a comprehensive overview of the Company’s business and the

         investment opportunity.     The Company prepared a “first round” diligence data room and

         provided potential buyers access to substantial information to assist them in formulating their

         indications of interest.   Contemporaneously with the conduct of this marketing process, the

         Debtors engaged in negotiations with the Term Loan Lenders over the terms and provisions of a

         purchase agreement under which the Term Loan Lenders may acquire the Company’s assets,

         including the acquisition of substantially all of the Debtors’ assets pursuant to a transaction under




01:25621777.4

                                                          26
                      Case 19-12502-LSS         Doc 17     Filed 11/21/19   Page 27 of 58



         section 363 of the Bankruptcy Code supported by a credit bid of certain of the outstanding

         obligations under the Term Loan Agreement, as contemplated by the terms of the RSA.

                        62.    Interested parties were advised that they would have until September 30,

         2019 to submit indications of interest (each an “IOI”) for a transaction to acquire the Company’s

         assets, either as a whole or limited to the U.S.-based or Canadian-based business, and through an

         in-court or out-of-court transaction. Eleven (11) parties submitted IOIs, a number of which, on

         an initial basis, approached or perhaps slightly exceeded the value of a credit-bid proposal

         advanced by the Prepetition Term Loan Lenders on September 21, 2019. In light of these

         results, the Prepetition Secured Lenders afforded the Debtors additional time to evaluate the

         interested parties and arrange follow-up diligence. Indeed, in mid-October the Term Loan

         Lenders began to focus on assessment and support of the third-party bidders in the process and

         determined not to submit a stalking horse credit bid.

                        63.    Based on a review of the IOIs received, Houlihan Lokey advanced seven

         (7) bidders to a second round of diligence. Parties participating in this second round of the

         process were instructed to submit final bids to Houlihan Lokey by October 30, 2019. Over the

         course of October, Houlihan Lokey arranged second-round data room access, coordinated

         management presentations and on-site visits, circulated second-round process letters, and

         otherwise worked closely with interested bidders to explore and address transaction structure,

         timing, and process considerations.

                        64.    Ultimately, three (3) parties submitted final bids on or around

         October 30th. Based on their review of the proposals received, the Debtors, after consultation

         with their advisors, focused their attention on the bid submitted by FCF (described below), which

         the SRC concluded was the highest or otherwise best offer among the final bids.


01:25621777.4

                                                         27
                        Case 19-12502-LSS            Doc 17       Filed 11/21/19       Page 28 of 58



                 The Debtors’ relationship with FCF and Entry in the Stalking Horse APA

                          65.     FCF indirectly holds a passive, minority equity interest in the Debtors.

         Through its affiliates, FCF owns an approximately 23% limited partnership interest in Big Catch

         1 L.P., a limited partnership that is three layers removed from the Debtors’ direct parent

         company, Clover Leaf Seafood S.à.r.l.4 FCF does not have any designees on the SRC or the

         boards of directors of any of the Debtors, the CCAA Debtors, their direct or indirect parent

         entities, or any other entity in the Bumble Bee corporate family. FCF and the Debtors have

         transacted business for many years, and continue to do so, on a strictly arms’-length basis.

                          66.     In its proposal dated October 30, 2019, FCF, through its affiliates,5 offered

         to acquire substantially all of the Company’s assets at a total implied enterprise value of

         approximately $925 million (which was subsequently increased to $925.6 million), which may

         be increased by up to an additional $5 million in certain instances based on increases in the

         amount of the Company’s aggregate funded indebtedness, including $275 million of cash, up to

         $638.6 million of new senior secured financing (which will take the form of rolled-over term

         loan indebtedness), and the assumption of the $17 million outstanding DOJ Fine. The SRC

         determined that FCF’s proposal represented the highest and best offer received as a result of the

         sale process, and directed the Company to proceed with negotiating definitive terms with FCF.

         After extensive, arms’-length negotiations, the Debtors executed the Stalking Horse APA with




         4
            Besford Ltd. and FCF International Limited—affiliates of FCF—together own 100% of the interests in Lion
         LLP/Big Catch Co-Investors 1 L.P., which holds a roughly 23% interest in Big Catch Cayman L.P., which, together
         with Bumble Bee GP S.à.r.l. owns Bumble Bee Holdco S.C.A., which in turn wholly owns BBFS, which wholly
         owns CLSS, the direct parent company of Debtor Bumble Bee Parent.
         5
          Tonos US LLC, Tonos 1 Operating Corp, and Melissi 4 Inc. (collectively, the “Stalking Horse Bidder”) are wholly
         owned affiliates of FCF. FCF has guaranteed all of the Stalking Horse Bidder’s performance and payment
         obligations under the Stalking Horse APA.

01:25621777.4

                                                               28
                         Case 19-12502-LSS             Doc 17      Filed 11/21/19        Page 29 of 58



         FCF, and commenced these Chapter 11 Cases to continue marketing the Company’s assets to

         pursue a value-maximizing, going concern sale.

         F.      The Debtors’ DIP Financing Negotiations6

                          67.      The Debtors require additional liquidity to fund operations and these

         Chapter 11 Cases during the ongoing conduct and consummation of the sale process. Pursuant to

         the RSA, the Prepetition Secured Lenders agreed to provide DIP financing on the terms set forth

         in the DIP Motion to provide that liquidity. Accordingly, the Debtors, at the direction of the

         SRC, and with the advice of their professional advisors, began negotiations with their Prepetition

         Secured Lenders on the specific terms and amounts of these facilities. The Debtors and their

         advisors also commenced a targeted marketing process with potential third-party financing

         providers to determine whether the Debtors could obtain the necessary financing on more

         favorable terms than those offered by the Prepetition Secured Lenders (the “DIP Marketing

         Process”).7

                          68.      Ultimately, the DIP Marketing Process did not generate an actionable

         alternative to the financing offered by the Prepetition Secured Lenders. It is my understanding

         that the Debtors’ current capital structure and the challenges of attempting to prime the liens and

         use the cash collateral of the Prepetition Secured Lenders without their consent (which the

         Prepetition Secured Lenders would not provide), taken together, made actionable third-party DIP
         6
           Capitalized terms used in this subsection F but not otherwise defined in this Declaration have the meanings set
         forth in the Debtors’ Motion for Interim and Final Orders (I) Authorizing Debtors to (A) Obtain Postpetition
         Secured Financing Pursuant to Section 364 of Bankruptcy Code and (B) Utilize Cash Collateral; (II) Granting
         Liens and Superpriority Administrative Expense Claims; (III) Granting Adequate Protection; (IV) Modifying
         Automatic Stay; (V) Scheduling Final Hearing; and (VI) Granting Related Relief, filed contemporaneously herewith
         (the “DIP Motion”).
         7
           These marketing efforts are discussed at length in the Declaration of Eric Winthrop in Support of Debtors’ Motion
         for Interim and Final Orders (I) Authorizing Debtors to (A) Obtain Postpetition Secured Financing Pursuant to
         Section 364 of the Bankruptcy Code and (B) Utilize Cash Collateral; (II) Granting Liens and Superpriority
         Administrative Expense Claims; (III) Granting Adequate Protection; (IV) Modifying Automatic Stay; (V) Scheduling
         Final Hearing; and (VI) Granting Related Relief, filed contemporaneously herewith (the “Winthrop Declaration”).

01:25621777.4

                                                                 29
                      Case 19-12502-LSS          Doc 17    Filed 11/21/19      Page 30 of 58



         financing virtually impossible under the circumstances. As a result, the Debtors and their

         advisors focused on negotiating the best possible financing terms with the Prepetition Secured

         Lenders and commenced these Chapter 11 Cases seeking approval of the DIP Facilities

         described at length in the DIP Motion. In sum, the DIP Facilities consist of: (i) a new money

         multiple draw term loan (the “Term Loan DIP Facility”) of up to $80 million provided by the

         Prepetition Term Loan Lenders (the “Term Loan DIP Lenders”), of which $40 million will be

         available upon entry of the Interim Order and the closing of the Term Loan DIP Facility; and

         (ii) a new asset-based revolving credit facility (the “ABL DIP Facility,” and together with the

         Term Loan DIP Facility, the “DIP Facilities”) in an amount not to exceed $200 million, provided

         by the Prepetition ABL Lenders (the “ABL DIP Lenders” and collectively with the Term Loan

         DIP Lenders, the “DIP Lenders”) that provides up to (i) $160 million of availability to the U.S.

         ABL Borrower (as defined in the DIP Motion), subject to a borrowing base limitation based on

         the U.S. ABL Borrower’s eligible accounts receivable, reserves, and inventory            and other

         conditions to drawing contained in the DIP Facilities and (ii) $40 million of availability to the

         Canadian ABL Borrower (as defined in the DIP Motion), subject to a substantially similar

         borrowing base with regard to the Canadian ABL Borrower’s assets. Wells Fargo Capital

         Finance, LLC will act as the administrative agent to the ABL DIP Facility and Brookfield

         Principal Credit LLC will act as the administrative agent to the Term Loan DIP Facility. The

         DIP Facilities will be secured by first priority priming liens and will allow the Debtors to utilize

         cash collateral on a fully-consensual basis (subject to the limitations in the Interim Order). I

         understand this refinancing was required by the ABL DIP Lenders as a condition to their

         commitment to provide postpetition financing.




01:25621777.4

                                                          30
                       Case 19-12502-LSS         Doc 17     Filed 11/21/19     Page 31 of 58



                        69.     I believe that the commercial terms of the DIP Facilities are reasonable

         and that they provide sufficient liquidity to fund the Chapter 11 Cases, conduct the sale process,

         and wind down the Debtors’ affairs after the sale has closed. I also believe that approval of the

         DIP Facilities will instill much needed confidence in parties that are critical to the success of the

         Chapter 11 Cases and the ongoing sale process, including the Debtors’ employees, vendors,

         suppliers, and customers. In addition, I believe the DIP Facilities will increase the opportunity

         for a robust, competitive postpetition sale process by facilitating the Debtors’ efforts to preserve

         operations and their going-concern value during that process. Absent the DIP Facilities, the

         Debtors would be unable to purchase new inventory, maintain valuable customer accounts, pay

         the costs of the chapter 11 process or avoid a value-destructive liquidation—all of which would

         result in irreparable harm to the Debtors and their stakeholders.

                        70.     I also understand that certain of the Debtors’ foreign affiliates, including

         the CCAA Debtors, will be party to the DIP Facilities and provide credit support for the Debtors’

         obligations thereunder, as they did in connection with the Prepetition Secured Debt. I also

         understand that the ABL DIP Facility provides for a Canadian Revolver Commitment to be

         available to the Canadian ABL Borrower for which the Debtors will be jointly and severally

         liable under the applicable ABL DIP Facility documents.

                        71.     I believe that the inclusion of the Canadian Revolver Commitment

         ultimately benefits the Debtors for at least two reasons. First, based on knowledge available to

         me and discussions with the Debtors’ advisors, I understand that the inclusion of the CCAA

         Debtors in the ABL DIP Facility decreases the Debtors’ DIP financing needs and provides the

         Debtors approximately $27 million of incremental liquidity during the first twelve (12) weeks of

         the Chapter 11 Cases. The Debtors expect that a portion of the CCAA Debtors’ positive cash


01:25621777.4

                                                          31
                      Case 19-12502-LSS         Doc 17     Filed 11/21/19     Page 32 of 58



         flow will be used to pay down amounts outstanding under the ABL DIP Facility—including

         approximately $14.2 million of advances outstanding under the U.S. Revolver Commitment—

         which will increase the Debtors’ liquidity during the Chapter 11 Cases. In addition, the Debtors

         expect the CCAA Debtors to maintain between approximately $12.4 and $14 million in excess

         availability under the Canadian Revolver Commitment, which the Debtors can utilize through

         the U.S. Borrowing Base Enhancement to obtain additional advances, if necessary.               Put

         differently, the U.S. ABL Borrower can use assets of the Canadian Prepetition Credit Parties

         whose assets comprise the Canadian Borrowing Base to increase the amounts the U.S. ABL

         Borrower (a Debtor) can borrow under the Prepetition ABL Facility. Absent that additional

         liquidity, I believe the Debtors would have been forced to negotiate for additional DIP

         borrowings that likely would have increased the overall financing costs to the Debtors’ estates.

                        72.    Second, I understand that the ABL DIP Facility requires the ABL DIP

         Agent to maintain separate loan accounts for the Canadian ABL Borrower and the U.S. ABL

         Borrower to ensure that the respective costs of any advances made to each respective borrower

         (including any interest, fees or other Lender Group Expenses (as defined in the ABL DIP

         Documents)) are charged to the appropriate borrower’s account. I also understand the borrowers

         have a primary obligation to pay their individual unused line fees. Thus, although the Debtors

         are ultimately jointly and severally liable for all obligations under the ABL DIP Facility, the

         Canadian ABL Borrower will bear its own fees, expenses, and interest in the first instance for

         amounts owed under the Canadian Revolver Commitment. Accordingly, I believe that the

         inclusion of the Canadian Revolver Commitment in the ABL DIP Facility is in the best interests

         of the Debtors’ estates, provides the Debtors with incremental liquidity, and helps reduce the




01:25621777.4

                                                         32
                      Case 19-12502-LSS          Doc 17    Filed 11/21/19        Page 33 of 58



         costs and burdens the Debtors would otherwise incur to obtain sufficient DIP financing absent

         the CCAA Debtors’ inclusion in the DIP Facilities.

                        73.     For all these reasons, I believe the DIP Facilities are a necessary and

         appropriate component of the ongoing sale process and are essential to the Debtors’ ability to

         conduct these Chapter 11 Cases for the benefit of their stakeholders.

                                                      Part III

                     SUPPORT FOR RELIEF REQUESTED IN FIRST DAY MOTIONS

                        74.     The Debtors filed the First Day Motions concurrently with the

         commencement of the Chapter 11 Cases. As a result of my first-hand experience, and through

         my review of various materials and information, discussions with members of the Debtors’

         management, and discussions with the Debtors’ outside advisors, I have formed opinions as to

         (a) the necessity of obtaining the relief sought by the Debtors in the First Day Motions described

         below, and (b) the immediate and irreparable harm to which the Debtors and their businesses

         would be exposed unless the relief requested in the First Day Motions is granted without delay.

                        75.     I have reviewed each of the First Day Motions (including the exhibits and

         schedules attached thereto) and, to the best of my knowledge, believe the facts set forth therein to

         be true and correct. This representation is based upon information and belief and through my

         review of various materials and information, as well as my experience and knowledge of the

         Debtors’ operations and financial condition. If I were called upon to testify, I could and would,

         based on the foregoing, testify competently to the facts set forth in each of the First Day

         Motions.

                        76.     The relief sought in the First Day Motions is critical to the continuing

         success of the sale process, the Chapter 11 Cases, and the Company’s business as a going


01:25621777.4

                                                          33
                       Case 19-12502-LSS          Doc 17      Filed 11/21/19      Page 34 of 58



         concern. The First Day Motions will maximize value for the Debtors’ estates and stakeholders

         by reducing unnecessary disruption and minimizing any adverse effects caused by the Chapter

         11 Cases to the Debtors’ businesses and operations. As described more fully below, the Debtors,

         in consultation with their professionals, have carefully tailored the relief requested in the First

         Day Motions to ensure the Debtors’ immediate operational needs are met, and that the Debtors

         suffer no immediate and irreparable harm as a result of the Chapter 11 Cases. For the reasons set

         forth below, I believe that the relief requested in each of the First Day Motions is appropriate

         under the circumstances and should be granted by the Court.

                 A.      Administrative Pleadings.

                         i.      Motion for Joint Administration

                         77.     Many of the motions, applications, hearings, and orders in the Chapter 11

         Cases will jointly affect each of the Debtors, who I understand are “affiliates” within the

         meaning of the Bankruptcy Code. Under these circumstances, the interests of the Debtors, their

         estates, their creditors, and other parties in interest would be best served by the joint

         administration of the Chapter 11 Cases for procedural purposes only. Joint administration of the

         Chapter 11 Cases will ease the administrative burden on the Court and all parties in interest, and

         will protect creditors of the respective estates against potential conflicts of interest.

                         78.     For these reasons, the Debtors submit, and I believe, that the relief

         requested in the motion is in the best interest of the Debtors, their estates, and their creditors and

         therefore should be approved.

                         ii.     Application to Appoint 156(c) Claims Agent

                         79.     The Debtors request entry of an order authorizing the retention and

         appointment of Prime Clerk LLC (“Prime Clerk”) as their claims and noticing agent in the

         Chapter 11 Cases. The Debtors selected Prime Clerk after soliciting proposals from Prime Clerk
01:25621777.4

                                                           34
                      Case 19-12502-LSS        Doc 17     Filed 11/21/19    Page 35 of 58



         and two other potential claims and noticing agents. I believe that the relief requested in Prime

         Clerk’s retention application will ease the administrative burden on the Clerk of the Court in

         connection with the Chapter 11 Cases. In addition, I have been advised by counsel that Prime

         Clerk’s retention is required by the Local Rules in light of the aggregate number of the Debtors’

         creditors. Accordingly, the Debtors believe that the application should be approved on the terms

         proposed.

                B.     Operational Motions Requesting Immediate Relief.

                       i.      Motion Confirming the Applicability of the Automatic Stay and the
                               Debtors’ Operating Status

                       80.     The Debtors obtain the overwhelming majority of goods and services used

         in the operation of their business from foreign vendors, including vendors located in Taiwan,

         Indonesia, Thailand, and Mexico, among other countries. As such, many are not aware of the

         provisions of the automatic stay in section 362 of the Bankruptcy Code or of the scope of a

         debtor in possession’s authority to conduct business. Nor are all such creditors likely cognizant

         of their significance and impact. I have been informed that debtors in bankruptcy often must

         advise third parties of the existence and effect of section 362 of the Bankruptcy Code and the

         automatic stay it creates, and occasionally a chapter 11 debtor must initiate proceedings in the

         bankruptcy court to enforce the protections contained therein.      Creditors may inaccurately

         believe that the Debtors are no longer operating or that an administrator or liquidator has been

         appointed and the Debtors are no longer in control of their operations. Without the basics for

         understanding the authority the Bankruptcy Code provides for continued operation of the

         business, I believe that some of the Debtors’ foreign creditors may be unwilling to continue to

         deal with the Debtors, to the detriment of their business and prospects for the Chapter 11 Cases.

         To avoid such unnecessary actions, and to provide notice to parties unfamiliar with the

01:25621777.4

                                                        35
                      Case 19-12502-LSS         Doc 17    Filed 11/21/19     Page 36 of 58



         Bankruptcy Code of the scope and effect of the automatic stay, I am advised a bankruptcy court

         may issue an order embodying and restating those provisions.

                        81.    Given the composition of the Debtors’ vendor base and the potential

         adverse impact on the Debtors’ operations from misunderstandings on the part of the Debtors’

         foreign vendors, I consider such a motion necessary in the Chapter 11 Cases.

                        ii.    Motion to Provide Utility Companies with Adequate Assurance

                        82.    The Debtors require various utility services at their offices and facilities

         located around the country, and such services are provided by numerous utility companies

         (collectively, the “Utility Companies”).     Because the Utility Companies provide essential

         services to the Debtors, any significant interruption in utility services would be highly

         problematic. In fact, the temporary or permanent discontinuation of utility services at any of the

         Debtors’ locations could irreparably disrupt business operations and diminish sales revenue, and,

         as a result, fundamentally undermine the Debtors’ efforts to maximize value. I understand that

         under section 366 of the Bankruptcy Code, the Debtors’ Utility Companies are entitled to a form

         of “adequate assurance” of future performance. Accordingly, the Debtors have proposed to

         protect the rights of the Utility Companies by providing such Utility Companies with a deposit in

         an amount equal to approximately 50% of the Debtors’ estimated monthly cost of utility services

         subsequent to the Petition Date. The Debtors submit that the deposit, together with the Debtors’

         ability to pay for future utility services in the ordinary course of business, constitute adequate

         assurance of future payment to the Utility Companies to satisfy the requirements of section 366

         of the Bankruptcy Code. To the extent that the Utility Companies disagree, however, the Utility

         Companies would be able to utilize the Debtors’ proposed procedures to seek additional

         adequate assurance.


01:25621777.4

                                                         36
                       Case 19-12502-LSS         Doc 17     Filed 11/21/19     Page 37 of 58



                        83.     I believe the Debtors’ proposed treatment of the Utility Companies is

         appropriate under the circumstances, and I am advised by counsel that the proposed procedures

         are consistent with procedures routinely approved in this District. Accordingly, I believe that the

         relief requested is in the best interests of the Debtors, their estates, and creditors and therefore

         should be approved.

                        iii.    Motion to Honor and Continue Insurance Programs

                        84.     In the ordinary course of their business, the Debtors maintain numerous

         insurance policies that provide coverage for, among other things, directors’ and officers’

         liability, general and excess liability, automobile, property, marine cargo, foreign liability,

         umbrella, and premises pollution liability (collectively, the “Insurance Policies”). A listing of all

         known policies currently in effect, which list I have reviewed, is attached as an exhibit to the

         Debtors’ motion.

                        85.     In connection with the Insurance Policies, the Debtors obtain brokerage

         services from Marsh Risk & Insurance Services (the “Broker”). The Broker assists the Debtors

         in obtaining comprehensive insurance for the Debtors’ operations by, among other things,

         assisting the Debtors with the procurement and negotiation of the Insurance Policies and

         enabling the Debtors to obtain those policies on advantageous terms at competitive rates.

                        86.     The Debtors’ Insurance Policies are essential to preserve the value of the

         Debtors’ business and assets, and are, in some cases, required by various laws, regulations or

         contracts that govern the Debtors’ business (and I am advised that certain insurance policies are

         also required by the Guidelines established by the Office of the United States Trustee for chapter

         11 bankruptcy cases). It is critical that the Insurance Policies be maintained and renewed on an

         ongoing and uninterrupted basis. Therefore, the Debtors request that the Court authorize them to


01:25621777.4

                                                          37
                        Case 19-12502-LSS          Doc 17      Filed 11/21/19      Page 38 of 58



         pay all prepetition premiums, fees, and expenses arising under, or related to, the Insurance

         Policies, including with respect to any Broker’s fees. For these reasons, I believe that the relief

         requested is in the best interests of the Debtors, their estates, and creditors and therefore should

         be approved.

                         iv.     Motion to Honor Prepetition Taxes

                         87.     The Debtors, in the ordinary course of their businesses, incur various tax

         liabilities, including, without limitation, (i) sales and use taxes; (ii) a gross receipts tax; (iii) real

         and personal property taxes; (iv) franchise taxes; and (v) certain other miscellaneous taxes

         (collectively, the “Taxes”) and various other fees and assessments, including fees for customs

         duties and business licenses and permits, (collectively, the “Fees,” and together with the Taxes,

         the “Taxes and Fees”) owed to certain authorities (collectively, the “Authorities”).

                         88.     Prior to the Petition Date, the Debtors generally paid their Taxes and Fees

         as they became due, and the Debtors believe any Taxes and Fees actually incurred as of the

         Petition Date are for current tax periods in the approximate amount of $350,000.

                         89.     The Debtors seek entry of an order allowing them to pay the Taxes and

         Fees to the Authorities, including all Taxes and Fees subsequently determined upon audit to be

         owed for periods prior to the Petition Date. The Debtors have ample business justification to pay

         the Taxes and Fees because it is my understanding that: (i) many, if not all, of the Taxes and

         Fees are priority claims under the Bankruptcy Code that come ahead of the Debtors’ general

         unsecured creditors; (ii) the funds to satisfy certain of the Taxes and Fees may not constitute

         property of the Debtors’ chapter 11 estates; (iii) the Debtors are required to pay the Taxes and

         Fees to maintain their good standing in certain jurisdictions in which they do business;

         (iv) failure to pay certain of the Taxes and Fees could give rise to liens on certain of the Debtors’


01:25621777.4

                                                            38
                       Case 19-12502-LSS          Doc 17    Filed 11/21/19    Page 39 of 58



         property; and (v) the Debtors’ directors and officers may face personal liability if certain of the

         Taxes and Fees are not paid. Therefore, to prevent immediate and irreparable harm that would

         result from such disruptions and distractions, the Debtors seek authority to pay the Taxes and

         Fees. I believe that the motion should be approved because it is in the best interests of the

         Debtors, their estates, and creditors.

                        v.      Postpetition Goods and Services Motion

                        90.     As a result of the commencement of the Chapter 11 Cases, the Debtors

         believe that several suppliers of goods and services (collectively, the “Suppliers”) with whom, as

         of the Petition Date, the Debtors had outstanding prepetition purchase orders (the “Outstanding

         Orders”) may perceive a risk that they will be treated as prepetition general unsecured creditors

         with respect to any shipments made after the Petition Date pursuant to the Outstanding Orders.

         As a result, the Suppliers may refuse to deliver such goods or services to the Debtors unless the

         Debtors can assure payment. The Debtors’ business depends on the ability to quickly obtain

         necessary goods and services from the Suppliers in order to generate their product line. The

         inability to maintain sufficient inventory due to the Suppliers’ refusal to deliver goods could

         have a significant detrimental impact on the Debtors’ business.

                        91.     Accordingly, for the reasons set forth herein and in the Postpetition Goods

         and Services Motion, the Debtors seek authority, but not direction, to satisfy their obligations in

         connection with the Outstanding Orders. On behalf of the Debtors, I respectfully submit that the

         relief requested in the Postpetition Goods and Services Motion is in the best interests of the

         Debtors’ estates, their creditors, and all other parties in interest and therefore should be

         approved.




01:25621777.4

                                                           39
                      Case 19-12502-LSS           Doc 17    Filed 11/21/19   Page 40 of 58



                        vi.    Employee Wages Motion

                        92.    The continued and uninterrupted support of the Debtors’ workforce is

         essential to the Debtors’ success. The skills and experience of the Debtors’ employees, their

         relationships with key parties to the Debtors’ business, such as customers and vendors, and their

         knowledge of the Debtors’ businesses are essential to the preservation and maximization of the

         value of the Debtors’ estates.      Interruptions in payment of prepetition employee-related

         obligations will impose hardship on the employees and is certain to jeopardize their continued

         performance during this critical time.

                        93.    To minimize the personal hardship that employees will suffer if

         prepetition employee-related obligations are not paid when due, and to maintain the employees’

         morale during this critical time, it is important that the Debtors be permitted to pay and/or

         perform, as applicable, their employee-related obligations, as detailed in the Debtors’ motion,

         including with respect to the following, whether arising pre- or post-petition: (i) employee

         wages, salaries, paid time off, and other compensation, including, as applicable, any amounts due

         in accordance with the terms and conditions of collective bargaining agreements and amounts

         owed to staffing agencies; (ii) employee business expenses; (iii) contributions to prepetition

         benefit programs provided to employees; (iv) workers’ compensation obligations; (v) payments

         for which prepetition payroll deductions were made; (vi) processing costs and administrative

         expenses relating to the foregoing payments and contributions; and (vii) payments to third parties

         incident to the foregoing payments and contributions.       A chart setting forth the proposed

         maximum prepetition amounts the Debtors seek to pay with respect to each category of

         employee wages and benefits is set forth below:




01:25621777.4

                                                           40
                      Case 19-12502-LSS          Doc 17    Filed 11/21/19      Page 41 of 58




                                  Employee Obligations                    Approximate
                                                                            Amount
                                                                          Outstanding
                         Unpaid Wages and Related Amounts                        $800,000
                         Paid Time Off (Vacation and Holiday)                  $2,400,000
                         Accrued Sick Leave                                      $500,000
                         Employee Expenses                                       $160,000
                         Wage Deductions                                         $130,000
                         Trust Fund Taxes and Payroll Taxes                      $245,000
                         Health Benefits                                          $40,000
                         401(k) Plans                                             $80,000
                         Additional Employee Benefits                             $16,000
                         Union Benefits                                           $15,000
                         Total:                                                $4,386,000


         Through the motion, the Debtors seek authority to pay $1,486,000 on account of prepetition

         employee wages and benefits on an interim basis and $4,386,000 on account of prepetition

         employee wages and benefits on a final basis.

                        94.     The relief requested in the Debtors’ motion is essential to the continued

         operation of the Debtors’ businesses and will enable the Debtors to operate during the

         Chapter 11 Cases without disruption, thereby maximizing value for the Debtors’ estates,

         creditors and other stakeholders. Moreover, I am advised by counsel that the Debtors do not

         seek to compensate any employees on behalf of pre-petition obligations in an amount that

         exceeds the statutory priority cap of $13,650, unless required by applicable state law, and the

         Debtors will not make any payments to insiders that would violate the Bankruptcy Code. For

         these reasons, I believe that the motion is in the best interests of the Debtors, their estates, and

         creditors, and, therefore, should be approved.




01:25621777.4

                                                          41
                       Case 19-12502-LSS         Doc 17     Filed 11/21/19     Page 42 of 58



                        vii.    Customer Programs Motion

                        95.     As discussed above, the Debtors’ customer base is diverse and includes

         supermarkets, mass merchants, warehouse clubs, drug stores, restaurants, and food service

         distributors, among others (collectively, the “Customers”).       In the ordinary course of their

         business, the Debtors engage in a number of practices to develop, support, and sustain a positive

         reputation with their Customers and in the marketplace generally (collectively, the “Customer

         Programs”), including rebate programs, slotting programs, a military sale program, and

         non-conforming goods and invoicing errors programs. The Customer Programs are an essential

         component of the Debtors’ competitive pricing structure and incentivize the Customers to

         continue purchasing the Debtors’ products.

                        96.     The Debtors’ industry is competitive, and the success of the Debtors’

         business hinges on the Debtors’ relationship with their Customers. It is therefore essential that

         they maintain a strong connection with their current Customers. Ultimately, the Debtors believe

         that it is in the best interest of the estates to continue to honor the Customer Programs in order to

         maintain the productive relationships the Debtors have with their Customers, without the benefit

         of which the Debtors’ business, and ultimately the outcome of the Chapter 11 Cases, would be

         irreparably harmed. In furtherance thereof, I believe that the continuation of the Customer

         Programs is a critical component of maximizing estate value and that the relief requested in the

         motion should therefore be approved.

                        viii.   Cash Management Motion

                        97.     In the ordinary course of business, the Debtors operate a cash management

         system (the “Cash Management System”) involving eleven (11) bank accounts (collectively,




01:25621777.4

                                                          42
                      Case 19-12502-LSS        Doc 17     Filed 11/21/19    Page 43 of 58



         the “Bank Accounts”). The Cash Management System provides a well-established mechanism

         for the collection, management, and disbursement of funds used in the Debtors’ business.

                       98.     In light of the substantial size and complexity of the Debtors’ operations,

         significant disruptions to the Debtors’ business would be highly likely if the cash management

         procedures must be quickly altered. As such, it is essential that the Debtors be permitted to

         maintain their Cash Management System in its current format.

                       99.     Given the Debtors’ corporate and financial structure and the number of

         affiliated entities participating in the Cash Management System, it would be difficult and unduly

         burdensome for the Debtors to establish an entirely new system of bank accounts and a new cash

         management and disbursement system for each of the five (5) legal entities that comprise the

         Debtors. The Debtors, therefore, seek authority for the continued use of the Cash Management

         System and Bank Accounts. The Debtors further seek authority to implement ordinary course

         changes to their Cash Management System and to open and close bank accounts. The Debtors

         also request authority for the banks to charge and the Debtors to pay or honor service and other

         fees, costs, charges and expenses to which the banks may be entitled under the terms of and in

         accordance with their contractual arrangements with the Debtors.

                       100.    The Debtors believe that the use of the bank accounts substantially

         complies with section 345(b) of the Bankruptcy Code, other than with respect to certain bank

         accounts held at Kasikornbank. Kasikornbank is not an authorized depository but it is insured by

         the Deposit Protection Agency of Thailand. The Debtors seek an interim waiver of section

         345(b) as it pertains to the Kasikornbank Accounts to permit them to continue to deposit funds in

         such bank accounts.




01:25621777.4

                                                        43
                      Case 19-12502-LSS        Doc 17     Filed 11/21/19    Page 44 of 58



                       101.    In the ordinary course of their business, the Debtors maintain business

         relationships between and among themselves and certain of their non-Debtor affiliates (the

         “Non-Debtor Affiliates”). As part of these business relationships, the Debtors and Non-Debtor

         Affiliates participate in a variety of intercompany transactions (the “Intercompany

         Transactions”) that generate intercompany receivables and payables (the “Intercompany

         Claims”). The Debtors maintain strict records of the Intercompany Claims and can ascertain,

         trace, and account for all Intercompany Transactions. The Debtors will continue to maintain

         such records, including records of all current intercompany accounts receivable and payable.

                       102.    Although each Debtor and Non-Debtor Affiliate plays a role that is

         integral to the Debtors’ overall operations and financing arrangements, not all entities generate

         sufficient cash flow from external customers for their operations. Thus, as described below, the

         Cash Management System provides the mechanism for cash to flow through the Debtors and

         Non-Debtor Affiliates so that operations may be maintained. To lessen the disruption caused by

         the Chapter 11 Cases and to maximize the value of the Debtors’ estates, I believe it is essential

         that the Debtors be allowed to continue to the Intercompany Transactions in the ordinary course.

                    (1) Intercompany Claims for General Support Services

                       103.    In the ordinary course of business, Bumble Bee Foods provides certain

         services to its Debtor and Non-Debtor Affiliates, including headquarter, computer system,

         quality assurance, accounting services, and procurement services, among others. Bumble Bee

         Foods charges its affiliates for the reasonable value of the services on pricing that Bumble Bee

         Foods believes is equivalent to pricing that would be provided in an arm’s-length third party

         transaction. These charges are made on a periodic basis and settled through book entries.

         Historically, no cash is exchanged between Bumble Bee Foods and its affiliates for these support


01:25621777.4

                                                        44
                         Case 19-12502-LSS       Doc 17     Filed 11/21/19     Page 45 of 58



         services as they are provided. Certain of the Non-Debtor Affiliates have valuable business

         operations that service the Debtors directly, while others enhance the overall value of the global

         enterprise of which the Debtors are a part that is being marketed for sale. I believe that the

         services provided by Bumble Bee Foods are essential to the functioning of these Non-Debtor

         Affiliates.

                          104.   In the ordinary course of business, a salesperson employed by Non-Debtor

         Affiliate Connors Bros. Clover Leaf provides certain support services to Anova Food. Connors

         Bros. Clover Leaf charges Anova Food for the reasonable value of these services on pricing that

         Connors Bros. Clover Leaf believes is equivalent to pricing that would be provided in an

         arm’s-length third party transaction. The provision of the services creates an intercompany claim

         in favor of Connors Bros. Clover Leaf, which is settled through book entries. No cash is

         exchanged between the parties.

                       (2) Intercompany Claims for Goods

                          105.   The Debtors purchase sardines from Canada and the Debtors sell certain

         products to their Canadian affiliates for re-sale internationally.       These transactions have

         historically been settled through book entries maintaining the intercompany balances and are

         typically settled in cash at the end of the year. On average, the Debtors incur approximately $1

         to $1.5 million per month on account of the goods they purchase from their Canadian affiliates.

         I believe that this pricing is equivalent to pricing that would be provided in an arm’s-length third

         party transaction.

                       (3) Intercompany Claims for the Funding of Foreign Affiliates Who Primarily
                           Support Anova Food and Bumble Bee Foods

                          106.   In addition to the general support services described above, the Debtors

         have various Intercompany Transactions with their foreign non-Debtor affiliates (the “Foreign

01:25621777.4

                                                           45
                       Case 19-12502-LSS          Doc 17      Filed 11/21/19     Page 46 of 58



         Affiliates”) whose operations are essential to the Debtors’ domestic business operations run

         through Anova Food. Anova Food is an importer and distributor of seafood products—primarily

         as a supplier of frozen tuna to distributors, retail grocers, and restaurants.

                         107.    The most substantial of these Intercompany Transactions occurs between

         Bumble Bee Foods, Anova Food, and non-Debtor Coral Triangle Processors, LLC (“Coral

         Triangle”). Coral Triangle is a seafood processing and manufacturing company based in the

         Marshall Islands. It manages key contracts with processing facilities in Indonesia, Thailand, and

         Vietnam. Using specialized knowledge of the seafood industry and various quality grades, Coral

         Triangle procures unprepared tuna loins from third-party fishing operators. With the assistance

         of Non-Debtor Affiliate Anova Technical Services, LLC (“Anova Technical”), Coral Triangle

         manages and directs the process for cleaning, cutting, freezing, and packaging product.

                         108.    Bumble Bee Foods provides Coral Triangle funding to allow it to prepare

         finished goods on behalf of Anova Food, Coral Triangle provides finished goods to Anova Food

         on an exclusive and non-cash basis, and Anova Food sells the finished goods to its customers in

         the United States. The finished goods Anova Food obtains from Coral Triangle account for a

         large part of Anova Food’s inventory. The revenue Anova Food receives on account of these

         finished goods is used to pay down the ABL Facility. All of these transactions are identified on

         the books of Bumble Bee Foods and its affiliates. On average, Bumble Bee Foods makes cash

         payments totaling approximately $4 million to $5 million per month to Coral Triangle to fund its

         purchase of goods and its operating disbursements.

                         109.    While on a smaller scale, the Debtors also fund the operations of Anova

         Technical, who in turn funds the operations of Non-Debtor Affiliate PT Seafood Inspection

         Laboratory (“PT Seafood”). Anova Technical operates primarily as a seafood procurement


01:25621777.4

                                                           46
                      Case 19-12502-LSS        Doc 17     Filed 11/21/19    Page 47 of 58



         company and as a provider of quality control services for Anova Food’s and Bumble Bee Foods’

         seafood supply chain including arranging for the purchase of frozen and processed/packaged

         tuna products by Anova Food (from unrelated suppliers) and of unprocessed tuna on behalf of

         Coral Triangle. As noted above, the product that Anova Technical sources for Coral Triangle is

         eventually sold to Anova Food (after processing by Coral Triangle); hence, Anova Food is an

         ultimate beneficiary of Anova Technical’s procurement efforts.       Anova Technical receives

         funding from Bumble Bee Foods, Anova Food, and certain Canadian affiliates to support its

         operations and, in turn, funds PT Seafood and PT Asindo. On average, Anova Technical

         receives approximately $250,000 per month from Bumble Bee Foods.

                       110.    PT Seafood is a seafood lab testing service provider and is the exclusive

         supplier of Neogen test kits in Indonesia. PT Seafood has substantial involvement from the Food

         and Drug Administration for establishing seafood regulatory standards. It provides laboratory

         testing services to Anova Technical to assist Anova Technical in its function as quality

         inspection agent for Anova Food. PT Seafood also sells seafood testing kits and services to third

         parties. On average, PT Seafood receives approximately $150,000 per month from Anova

         Technical.

                       111.    Non-Debtor Affiliate PT Asindo Minesagara (“PT Asindo”) maintains

         Anova Food’s primary Clearsmoke distribution facility. Clearsmoke is a patented technology

         based on the principles of traditional wood smoking, which Anova Food uses to preserve the

         quality of its frozen seafood products.    PT Asindo is largely self-funded but Anova Food

         provides it certain supplies, including wood, spare parts, and other machinery that is used to

         make the Clearsmoke smoke machines. The value of these supplies is approximately $5,000 per

         month.


01:25621777.4

                                                        47
                      Case 19-12502-LSS         Doc 17     Filed 11/21/19      Page 48 of 58



                        112.   Bumble Bee Foods funds the operations of Coral Triangle and Anova

         Technical and its subsidiaries, and receives the benefit of those entities providing goods to

         Anova Food and services to Bumble Bee Foods and Anova Food on a non-cash basis. Further,

         these goods and services are essential to the conduct of the operation of Anova Food and Bumble

         Bee Foods, and the revenues from the sale of finished goods by Anova Food, a wholly-owned

         subsidiary of Bumble Bee Foods, are used to pay down the obligations under the ABL Facility,

         thereby creating liquidity for Bumble Bee Foods and enhancing the value of Anova Food. All of

         these transactions are recorded on Bumble Bee Foods’ books and these entities typically settle

         their intercompany accounts on at least a yearly basis.

                    (4) Intercompany Claims for the Funding of Foreign Affiliates Who Primarily
                        Support Anova Food and Bumble Bee Foods

                        113.   Lastly, as described above, Bumble Bee Foods is one of the two borrowers

         under the ABL DIP Facility. Over the course of the Chapter 11 Cases, receipts from Bumble

         Bee Foods and Connors Bros. will be applied to reduce the advances under the ABL DIP

         Facility. The Debtors project that over the course of the Chapter 11 Cases Connors Bros. will be

         a net liquidity provider to the Debtors and the Debtors will owe a balance to Connors Bros.

         resulting from the application of cash generated by Connors Bros. and its subsidiaries to

         satisfying advances made to Bumble Bee Foods as borrower under the ABL DIP Facility.

                        114.   I believe that the relief requested in this motion is essential to the Debtors’

         business operations and is in the best interests of the Debtors, their estates, and creditors.

         Accordingly, I believe that the relief requested in the motion should be approved.




01:25621777.4

                                                         48
                      Case 19-12502-LSS             Doc 17    Filed 11/21/19   Page 49 of 58



                          ix.      Vendors Motion

                    (1)         Foreign Vendors

                          115.     As discussed above, while the Debtors rely on suppliers in the United

         States to obtain certain goods and services, the Debtors obtain the overwhelming majority of

         goods and services used in the operation of their businesses from foreign vendors, which are

         primarily located in the Asia Pacific region. Specifically, the Debtors obtain the vast majority of

         their albacore tuna and “light meat” tuna, including skipjack, yellowfin, and bigeye, from FCF.

         The Debtors obtain smaller volumes of fresh and frozen tuna as well as oysters, sardines, and

         other raw and finished food products from other foreign vendors. In addition, the Debtors rely

         on the foreign vendors to provide processing services, such as cleaning, de-boning, and loining

         fish and other raw seafood purchased by the Debtors.           The foreign vendors also provide

         preparation and packaging services, canning supplies, and equipment essential to the Debtors’

         business operations.       Each of the foreign vendors plays a critical role in the Debtors’

         manufacturing process and could not be easily replaced.

                          116.     Given the importance the foreign vendors play in the Debtors’

         manufacturing process, even a temporary disruption in the Debtors’ supply chain would have a

         devastating effect on the operation of the Debtors’ businesses. Indeed, the vast majority of

         foreign vendors also satisfy the criteria for consideration as a critical vendor set forth in the

         Vendors Motion, including, as described in more detail below, FCF. Accordingly, I believe that

         the Debtors need the ability to pay the foreign vendor claims on an uninterrupted basis. Through

         the Vendors Motion, the Debtors seek authority to pay foreign vendor claims up to a total of

         $28.6 million on an interim basis and up to a total of $58.4 million on a final basis. The Debtors

         believe that approximately $14 million of this amount is entitled to priority under section

         503(b)(9) of the Bankruptcy Code.
01:25621777.4

                                                             49
                      Case 19-12502-LSS         Doc 17    Filed 11/21/19     Page 50 of 58



                        117.   FCF is among the foreign vendors the Debtors seek authority to pay. It is,

         by far, the most critical of the Debtors’ vendors. Albacore tuna products are the Debtors’ leading

         product segment, representing $279 million (or 38%) of the Debtors’ annual sales in the United

         States and $62 million (or 44%) of the Debtors’ annual gross profit. Since 2010, FCF has met

         between 95% to 100% of the Debtors’ albacore demand and 70% to 100% of their light meat

         tuna demand. This is not surprising because FCF is responsible for a large percentage of the

         longline-caught tuna in markets available to the Debtors, and the Debtors’ specifications require

         them to use only longline-caught tuna in their products. The remaining available longline-caught

         tuna is dispersed among one other larger participant and multiple smaller brokers and fisheries.

         The Debtors estimate that replacing FCF would take no less than six (6) months and as long as

         one (1) year. To do so would also be capital and resource intensive and might even require the

         Debtors to take on the “middle-man” role that FCF currently serves by directly sourcing fish

         from boats in various foreign locations. Of course, FCF is significantly advantaged in those

         markets because it operates in the native languages—a capability the Debtors do not currently

         have—and has pre-existing relationships with fishing vessels in these locations.

                        118.   There are three (3) important financial elements underlying the Debtors’

         request to provide FCF critical vendor status beyond the outright critical nature of the products

         that FCF supplies. First, the Debtors are conditioning critical vendor status on FCF continuing

         to provide the ninety (90)-day payment terms that it afforded to the Debtors prior to these

         Chapter 11 Cases and to continue to adhere to pricing terms favorable to the Debtors. Second,

         the Debtors’ DIP Financing incorporates as a key assumption that such additional payment terms

         will be provided by FCF. Third, and related to the prior two (2) points, FCF will be paid its pre-

         petition claim, which is approximately $51 million, in accordance with the agreed-upon ninety


01:25621777.4

                                                         50
                      Case 19-12502-LSS         Doc 17     Filed 11/21/19     Page 51 of 58



         (90)-day payment terms, rather than as a lump-sum or on an otherwise accelerated schedule. In

         sum, the Debtors believe that there will be substantial financial benefits to the estates from

         maintaining the ninety (90)-day payment terms with FCF during the course of these Chapter 11

         Cases; indeed, the Debtors’ DIP financing budget is premised on the maintenance of such

         payment terms.

                        119.   The Debtors identified FCF as their most important vendor in the very

         early stages of planning for the Chapter 11 Cases and well before FCF emerged as a serious

         bidder. In obtaining important accommodations from FCF prior to the Chapter 11 Cases, the

         Debtors communicated to FCF that it would be considered for foreign or critical vendor

         treatment and that the Debtors would seek a first day order to continue to satisfy FCF’s claims—

         arising both pre- and post-petition—in accordance with the parties’ prevailing business practices.

         I believe FCF’s comfort that it would be paid as a foreign or critical vendor during the Chapter

         11 Cases was a significant factor contributing to FCF’s decision to provide the Debtors with

         ninety (90)-day payment terms as the Debtors underwent their financial restructuring, and this

         additional liquidity allowed the Debtors to conduct the robust marketing process described

         herein, among other things. For these reasons, I believe that it is essential to maintain the

         ordinary course payment terms between the Debtors and FCF, including payment for goods

         received prepetition and to continue to purchase goods postpetition, all on the agreed to ninety

         (90)-day payment terms, in these Chapter 11 Cases.

                        120.   Moreover, even without critical vendor status, FCF would be entitled to

         payment in full of its claims in these Chapter 11 Cases in any realistic scenario. As stated above,

         the FCF Supply Contract is critical to the Debtors’ business and will likely need to be assumed

         by any acquirer of the Debtors’ assets. Assumption, of course, would require that all outstanding


01:25621777.4

                                                         51
                        Case 19-12502-LSS          Doc 17    Filed 11/21/19     Page 52 of 58



         amounts due under the FCF Supply Contract, including those arising prepetition, would need to

         be paid to cure the defaults under the FCF Supply Contract. Therefore, affording FCF critical

         vendor status will merely alter the timing of FCF’s statutory entitlement to payment in full of its

         prepetition claim under the FCF Supply Contract.            The Debtors submit that the unique

         circumstances described above are more than sufficient to justify granting FCF critical vendor

         status at this time.

                     (2)        Domestic Critical Vendors

                           121.    In the ordinary course of business, the Debtors engage domestic critical

         vendors to provide various goods and services essential to the production and distribution of their

         products. Among other things, the domestic critical vendors: (i) supply seafood, meat and

         poultry finished products as well as other goods used in the Debtors’ products; (ii) provide

         packaging services; and (iii) supply cans, lids, and other goods necessary to package the Debtors’

         products. The Debtors’ business depends on, among other things, the Debtors’ ability to retain

         their domestic critical vendors and maintain their reputation and customer loyalty. The Debtors

         need to be able to assure their customers, vendors, services providers, and employees that,

         notwithstanding the filing of the Chapter 11 Cases, they will continue to operate at the highest

         level.

                           122.    To identify the domestic critical vendors, the Debtors have reviewed their

         accounts payable and prepetition vendor lists to identify those creditors most essential to the

         Debtors’ operations pursuant to the following criteria: (i) whether there is an alternative source

         for the goods or services that can be acquired within a reasonable amount of time; (ii) whether

         there is a unique process or special knowledge of the Debtors that the vendor has possessed over

         time that no one else has; (iii) whether the vendor’s products been pre-approved for use in the

         Debtors’ end product by the Debtors’ customers; and (iv) whether a vendor meeting any of the
01:25621777.4

                                                            52
                       Case 19-12502-LSS          Doc 17     Filed 11/21/19     Page 53 of 58



         foregoing criteria is able or likely to refuse to provide goods or services to the Debtors

         postpetition if its prepetition balances are not paid.

                          123.   In many instances, the domestic critical vendors provide services or goods

         unique to the Debtors that could not be easily or quickly obtained from another vendor or are

         sole-source providers. In addition, although certain services or goods provided by the domestic

         critical vendors could be obtained elsewhere, I do not believe that alternative providers could be

         found within a reasonable amount of time or would be acceptable to their customers. I believe

         that it is essential that the Debtors be able to maintain their business relationships with, and

         honor outstanding payment obligations to, the domestic critical vendors given the critical role

         that they play in the Debtors’ business. To prevent the commencement of the Chapter 11 Cases

         from causing an unexpected or inopportune interruption to their business operations, the Debtors

         are seeking to pay domestic critical vendor claims to ensure the Debtors’ continued receipt of

         goods and services and favorable credit terms from the domestic critical vendors.

                          124.   Through the Vendors Motion, the Debtors seek authority to pay domestic

         critical vendor claims up to a total of $4.3 million on an interim basis and up to a total of $4.4

         million on a final basis. Of this amount, the Debtors believe that approximately $3.3 million is

         entitled to priority under section 503(b)(9) of the Bankruptcy Code.

                    (3)      Lien Claims

                          125.   The Shippers and Warehousemen. In the ordinary course of business, the

         Debtors necessarily depend on an extensive shipping, warehousing and distribution network to

         move goods to their factories and finished product to their customers. The Debtors accordingly

         engage the use of reputable common carriers, dedicated carriers, freight-forwarders, ocean

         carriers, parcel carriers, consolidators, brokers and customs agents (collectively, the “Shippers”).

         The Debtors also support their distribution capabilities by contracting with certain third-party
01:25621777.4

                                                           53
                        Case 19-12502-LSS        Doc 17     Filed 11/21/19     Page 54 of 58



         warehousemen, distributors and logistics providers who store goods in transit on behalf of the

         Debtors (the “Warehousemen”).

                         126.   If the Debtors fail to pay any of the foregoing entities for charges incurred

         in connection with the transportation and storage of the Debtors’ property, various statutes,

         tariffs, and agreements may permit the Shippers or Warehousemen, as applicable, to assert

         possessory liens against or otherwise exercise control over the Debtors’ property in their

         possession. In addition, shipments may be stopped in transit or not released if customs duties are

         not paid by the Debtors or their customs agents when due in the ordinary course. The successful

         operation of the Debtors’ business, and thus their ability to maximize the value of their assets,

         depends on their ability to process such goods.

                         127.   Other Potential Lienholders. In addition to the Vendor Claims of Shippers

         and Warehousemen, the Debtors also from time to time transact business with a number of other

         third parties (collectively, the “Lien Claimants”) who, under applicable non-bankruptcy law, may

         have the potential to assert liens against the Debtors and their property if the Debtors fail to pay

         for goods or services rendered prior to the Petition Date. Such Lien Claimants may have

         provided equipment and/or performed various services for the Debtors, including (i) providing

         equipment and parts necessary for the operation of the Debtors’ factories and (ii) rendering

         essential services related to the operation of the Debtors’ facilities, such as machine repair and

         maintenance.

                         128.   As of the Petition Date, certain Lien Claimants may not have been paid in

         full for certain prepetition goods, equipment and services, which may result in such Lien

         Claimants asserting, and perfecting, statutory liens against the Debtors’ facilities or the Debtors’

         goods or equipment, notwithstanding the automatic stay under section 362 of the Bankruptcy


01:25621777.4

                                                           54
                       Case 19-12502-LSS            Doc 17     Filed 11/21/19      Page 55 of 58



         Code. Furthermore, certain Lien Claimants may refuse to perform ongoing services to the

         Debtors, including manufacturing, installation, repair and servicing obligations, unless their

         claims are paid in full.

                         129.       I believe that if the Debtors are unable to pay the Lien Claims, they could

         risk losing access to critical property, which could immediately and irreparably harm the Debtors

         to the detriment of all stakeholders. Through the Vendors Motion, the Debtors seek authority to

         pay Lien Claims up to a total of $3.6 million, all of which will be due within the first thirty (30)

         days of the Chapter 11 Cases.

                         130.       I believe that each category of claims the Debtors seek to pay under the

         motion is essential to prevent irreparable harm to the Debtors’ business operations and that

         therefore the motion should be approved.

                                                      CONCLUSION

                         131.       I believe approval of the relief requested in the First Day Motions is in the

         best interests of all stakeholders and respectfully request that the Court grant all relief requested

         in the First Day Motions and such other further relief as may be just.




01:25621777.4

                                                             55
                    Case 19-12502-LSS        Doc 17    Filed 11/21/19       Page 56 of 58




                     I, the undersigned, declare under penalty of perjury that the foregoing is true and

         correct.

         Dated: November 21, 2019                 /s/ Kent McNeil
                                                  Kent McNeil
                                                  Chief Financial Officer




01:25621777.4

                                                      56
                Case 19-12502-LSS   Doc 17   Filed 11/21/19   Page 57 of 58



                                      EXHIBIT A

                             Corporate Organizational Chart




01:25621777.4
                                                                              Case 19-12502-LSS                       Doc 17            Filed 11/21/19              Page 58 of 58

                                                                                                                                                                                              Simplified equity ownership
                                                                                                                                                                                 Big Catch 1 L.P.
                                                                                                                                                                                     Cayman


     Ownership 100% unless stated
     otherwise                                                                                                                                                                      Big Catch
                                                                                                                                                                                   Cayman L.P.
                                                                                                                                                                                       Cayman
            = ABL & Term Loan Obligor


            = U.S. Chapter 11 Debtor
                                                                                                                             Bumble Bee
                                                                                                                            Holdco S.C.A.
             = CCAA Canadian Debtor                                                                                          Luxembourg

                                                                                                                            Bumble Bee
                                                                                                                            Foods S.à.r.l.
                                                                                                                            Luxembourg


                                                                                                                             Clover Leaf
                                                                                                                            Seafood S.à.r.l.
                                                                                                                             Luxembourg
                                           U.S. Chapter 11 Debtors                                                                                                           CCAA Canadian Debtors




                           Bumble Bee
                           Parent, Inc.
                            US (DE)
                                                                                                                                                                                   Connors Bros.              Clover Leaf
                                                                                                                          Anova Technical                                        Holdings Company          Holdings Company
                          Bumble Bee
                                                                              Coral Triangle                               Services, LLC                                          NSULC/Canada              NSULC/Canada
                         Holdings, Inc.
                                                                             Processors, LLC                            SLLC/Marshall Islands
                           US (GA)                                                                   95%
                                                                             Marshall Islands                                                                   3.6%
                                                                                                               5%                                     96.4%

                           Bumble Bee
                                                                                                                                                                                                              Connors Bros.
                           Foods, LLC                                                             PT Asindo                                               PT Seafood                                           Clover Leaf
                            US (DE)                                                               Minasagara                                              Inspection                                        Seafoods Company
                                                                                                PT (LLC) Indonesia                                        Laboratory                                          NSULC/Canada
                                                                                                                                                        PT (LLC) Indonesia



       Bumble Bee                        Anova
      Capital Corp.                    Food, LLC                                                         Technical                Technical               Seafood
        US (DE)                         US (VA)                         3d Party                      Services 1, LLC          Services 2, LLC         Ventures, LLC                 Connors Bros.              6162410           K.C.R.
                                                                       JV Owners                    SLLC/Marshall Islands    SLLC/Marshall Islands   SLLC/Marshall Islands         Seafoods Company          Canada Limited    Fisheries Ltd.
   Bumble Bee                                                                                                                                                                        NSULC/Canada              CBCA/Canada      NB/Canada
    Foods, LLC                                         43.6%         56.4%
     Rep Office
    Thailand                                       RiceWrap Foods                        Anova Technical Services
                                                     Corporation                               Rep Office
                                                       US (NC)                                  Indonesia




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